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                      Nos. 22-2299 (L), 22-2300
                                In the

United States Court of Appeals
              For the Federal Circuit
                  __________________
          CROWN PACKAGING TECHNOLOGY, INC.,
          CARNAUDMETALBOX ENGINEERING LTD.,
                                     Plaintiffs-Appellants,
                          v.

           BELVAC PRODUCTION MACHINERY, INC.,
                                          Defendant-Cross-Appellant.
                         __________________
           Appeals from the United States District Court
 for the Western District of Virginia in No. 6:18-cv-00070-NKM-RSB
               before Senior Judge Norman K. Moon
                     ________________________
          CORRECTED BRIEF OF CROSS-APPELLANT
          BELVAC PRODUCTION MACHINERY, INC.
                   __________________

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EXEMPLARY PATENT CLAIMS PURSUANT TO FED. CIR. R. 32(a)(3)

   Claim 20 of the ’982 Patent recites:

   20. A horizontal beverage can necking machine for forming necked
   beverage can bodies suitable for forming a seam with a beverage can
   end, the assembly comprising:

         multiple horizontal necking stages adapted for necking at least
         3000 beverage can bodies per minute, each necking stage being
         configured to rotate about a respective axis that is substantially
         parallel to a surface on which the necking machine is supported;

         the longitudinal centers of the adjacent necking stages forming
         an included angle with the longitudinal center of a transfer
         starwheel, measured with the longitudinal center of the transfer
         starwheel at the vertex, of no more than 170 degrees;

         each one of the necking stages including a main turret that
         includes: a main turret shaft, a main turret starwheel having
         plural pockets adapted for carrying can bodies, and a main gear
         mounted on the main turret shaft; each one of the pockets having
         a necking die at one end thereof and a pad on an opposing end;

         each necking die comprising:
         a throat portion having an inner surface that defines a cylinder
         having a throat portion diameter;
         a body portion having an inner surface that defines a cylinder
         having a body portion diameter; and
         a transition portion having an inner surface that smoothly
         transitions from the inner surface of the throat portion to the
         inner surface of the body portion, wherein the throat portion is
         larger than the body portion diameter; and

         each one of the pockets of each one of the necking stages having
         a first configuration in which the can body is spaced apart from
         the necking die and a second configuration in which the can
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            body is engaged with the necking die; in the first configuration
            the pad is spaced apart from the necking die by a first distance,
            in the second configuration the pad is spaced apart from the
            necking die by a second distance that is at least 1.5 inches less
            than the first distance;

            whereby the throat portion inner surface is adapted for
            enhancing concentricity of the can body relative to the die.


Claims 1, 2, 4, 5, and 7 of the ’784 Patent recite:
      1. A horizontal beverage can necking machine for forming necked
      beverage can bodies suitable for forming a seam with a beverage can
      end, the assembly comprising:
            multiple horizontal necking stages adapted for necking at least
            3000 beverage can bodies per minute, each necking stage being
            configured to rotate about a respective axis that is substantially
            parallel to a surface on which the necking machine is
            supported;
            the longitudinal centers of the adjacent necking stages forming
            an included angle with the longitudinal center of a transfer
            starwheel, measured with the longitudinal center of the transfer
            starwheel at the vertex, of no more than 170 degrees;
            each one of the necking stages including a main turret that
            includes: a main turret shaft, a main turret starwheel having
            plural pockets adapted for carrying can bodies, and a main gear
            adapted for receiving torque to rotate the main turret shaft;
            each one of the pockets having a necking die at one end thereof
            and a pad on an opposing end;
            each necking die comprising:
                   a throat portion having an inner surface that defines a
                   cylinder having a throat portion diameter;


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           a body portion having an inner surface that defines a
           cylinder having a body portion diameter; and
           a transition portion having an inner surface that smoothly
           transitions from the inner surface of the throat portion to
           the inner surface of the body portion, wherein the throat
           portion diameter is larger than the body portion
           diameter; and
     each one of the pockets of each one of the necking stages
     having a first configuration in which the can body is spaced
     apart from the necking die and a second configuration in which
     the can body is engaged with the necking die; in the first
     configuration the pad is spaced apart from the necking die by a
     first distance, in the second configuration the pad is spaced
     apart from the necking die by a second distance that is at least
     1.75 inches less than the first distance;
     whereby the throat portion inner surface is adapted for
     enhancing concentricity of the can body relative to the die.


2. The horizontal beverage can necking machine of claim 1 wherein
the longitudinal centers of the adjacent necking stages form the
included angle with the longitudinal center of the transfer starwheel
of no more than 120 degrees.


4. The horizontal can necking machine of claim 2, wherein the throat
portion is at least 0.25 inches long.


5. The horizontal can necking machine of claim 4 wherein the
included angel of no more than 120 degrees thereby increases the
angular range available for necking the can body.


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      7. The horizontal beverage can necking machine of claim 5 wherein
      the necking stages are adapted for necking at least 3400 beverage can
      bodies per minute.


Claims 1, 7, and 8 of the ’570 Patent recite:
      1. A horizontal can necking machine assembly comprising: plural
      main turrets, each main turret including a main turret shaft, a main
      gear mounted proximate to an end of the main turret shaft, a pusher
      assembly, and a die; the main turret shaft is configured to rotate
      about an axis that is substantially parallel to a surface on which the
      assembly is Supported; the necking machine capable of necking a can
      body to prepare the can body for a flanging operation suitable for
      forming a double seam with a beverage can end;
      the die including:
            a throat portion having an inner surface that defines a cylinder
            having a first diameter,
            a body portion having an inner surface that defines a cylinder
            having a second diameter; and
            a transition portion having an inner surface that smoothly
            transitions from the inner surface of the throat portion to the
            inner surface of the body portion, wherein (i) the first diameter
            is larger than the second diameter, and (ii) the throat portion is
            at least 0.125 inches long; and
            plural transfer starwheels located in an alternating relationship
            with the main turrets, each transfer starwheel including a
            transfer shaft and a transfer gear mounted proximate to an end
            of the transfer shaft;
      the main gears and transfer gears are in meshed communication and
      positioned relative to each other such that lines that intersect centers
      of the main gear and centers of opposing transfer gears form an

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included angle of less than 170 degrees, thereby increasing the
angular range available for necking the can body;
wherein (i) the main turrets and transfer starwheels are capable of
operating to neck and move at least 3000 cans per minute, and (ii) a
stroke length between the pusher assembly and the die is at least 1.50
inches.


7. The horizontal can necking machine assembly of claim 1, wherein
the main turrets and transfer starwheels are operative to neck and
move approximately 3400 cans per minute.


8. The horizontal can necking machine assembly of claim 1, wherein
the transfer gears have a larger diameter than the main gears.




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                          CERTIFICATE OF INTEREST

      Counsel for Cross-Appellant Belvac Production Machinery, Inc., Brian
D. Schmalzbach, certifies the following:

     1.    The full name of all entities represented by me in this case is
           Belvac Production Machinery, Inc.

     2.    There are no other real parties in interest represented by the
           undersigned.

     3.    All parent corporations and all publicly held companies that
           own 10 percent or more of the stock of the party or amicus curiae
           represented by me are: Dover Engineered Systems, Inc.;
           Delaware Capital Holdings, Inc.; Delaware Capital Formation,
           Inc.; Dover Corporation.

     4.    The names of all law firms, partners and associates that (a)
           appeared for the entities in the original court or agency or (b) are
           expected to appear in this court for the entities (not including
           those who have already entered an appearance in this case) are:

           McGuireWoods LLP: George B. Davis; Matthew G. Rosendahl

     5.    There are no other cases that will directly affect or be directly
           affected by this Court’s decision in the pending appeal (not
           including the originating case number (s) for this case).

     6.    This entity has no information on any Organization Victims or
           Bankruptcy cases.


Dated: May 24, 2023

                                            /s/ Brian D. Schmalzbach
                                            Brian D. Schmalzbach



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                         TABLE OF ABBREVIATIONS

Abbreviation       Term

‘425 Patent        U.S. Patent No. 7,770,425

’982 Patent        U.S. Patent No. 9,968,982

’570 Patent        U.S. Patent No. 9,308,570

’784 Patent        U.S. Patent No. 10,751,784

‘843 Patent        U.S. Patent No. 8,601,843

AIA                Leahy-Smith America Invents Act of 2011

Asserted Patents Collectively, the ’982 Patent and ’784 Patent, with
                 respect to infringement; and the ’570, ’982, and ’784
                 Patents with respect to invalidity

Asserted Claims    Claims 1, 7, and 8 of the ’570 Patent; Claims 20, 22, 24,
                   and 26 of the ’982 Patent; and Claim 7 of the ’784
                   Patent

Belvac             Belvac Production Machinery, Inc.

Crown              Collectively, Crown Packaging Technology, Inc. and
                   CarnaudMetalbox Engineering Ltd.

CMBE               CarnaudMetalbox Engineering Ltd.

CPM                Complete Packaging Machinery when used in
                   discussion of the on-sale bar, or Cans Per Minute
                   when used to describe throughput speeds in
                   discussion of Belvac’s noninfringement

CPM Offer or       Crown’s November 14, 2006 offer for a 3400 machine
Offer              sent to Complete Packaging Machinery, Appx4724-
                   4734.


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3400                 Crown’s 3400 Die Necking Machine

TBN                  Belvac’s THE BELVAC Necker machine

POSITA               Person of ordinary skill in the art


                       STATEMENT OF RELATED CASES

       No other appeal in or from the same civil action or proceeding in the

lower court or body was previously before this or any other appellate

court. Counsel is aware of no case pending in this or any other court or

agency that will directly affect or be directly affected by this Court’s

decision in the pending appeal.




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                               INTRODUCTION

      Crown’s strategy for proving this patent infringement case was to

breeze by the claim limitations that later proved critical. That strategy

backfired when the jury returned a verdict of noninfringement. On appeal,

Crown seeks to plug the holes left by its trial strategy, but to no avail. The

jury cannot be faulted for not adopting arguments Crown never presented.

And the District Court cannot be faulted for not adopting constructions

Crown never proposed.

      Under the Asserted Claims, the claimed beverage can necking machine

assembly must comprise at least: (1) multiple necking stages “adapted for”

necking at least 3,000 cans per minute (the “throughput limitation”), and (2)

necking dies (the tooling used to add “necks” to the top of beverage cans) at

“each” of those so-adapted stages that have a throat portion with an inner

surface that “defines a cylinder” (the “cylindrical limitation”).

      Crown itself told the jury only that the TBN as a whole—including stage

1 and its associated dies—met the throughput limitation. Belvac’s evidence

likewise established that the TBN requires stage 1 and its associated necking

dies to be “adapted for” necking at the claimed throughput speeds. Thus,

based on the unrefuted evidence, the jury had to determine whether the dies

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at stage 1 satisfied the cylindrical limitation. To that end, Belvac established

that the stage 1 dies required to achieve the claimed throughput speeds do

not satisfy the cylindrical limitation because they have a tapered inner

surface.

      Crown now insists that the jury should have ignored stage 1 and found

infringement with blinders on based on later stages. That argument fails on

the merits, but Crown did not even give the jury a chance to consider it. It

is waived.

      Crown also accuses Belvac and the jury of impermissible claim

construction. But Crown chose not to request construction of key terms like

the cylindrical limitation. The consequence of that strategy is that Belvac

could show—and the jury could rely upon—those terms’ plain and ordinary

meaning.      Crown’s gamble did not pay off.               The judgment of

noninfringement should be affirmed.

      Invalidity is a different story. Although Crown indisputably sent an

offer to sell its 3400 necking machine that it claims embodies the Asserted

Claims to a U.S. company over a year before the priority date of the Asserted

Patents, the District Court granted summary judgment of no invalidity

under the on-sale bar. That decision ignored the quantity, price, delivery,

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and other terms that this Court has found make an offer sufficiently definite

under the on-sale bar. Instead, the Court made dispositive the Offer’s

“quotation” label (even though it also calls itself an “offer”) and Crown’s

superficial reservation of the right to confirm purchase orders. That was

error. Crown’s Offer triggered the on-sale bar as a matter of law, or at least

created a genuine dispute of material fact requiring reversal of the judgment

of no invalidity.

      Last, the Asserted Claims are invalid for lack of a written description

as a matter of law. Although Crown sought and obtained constructions that

applied to all configurations for creating contact between the can and the die

during the necking process (“necking configurations”), Crown’s own expert

conceded that the specification of the Asserted Patents disclosed only one

possible configuration for achieving the claimed throughput speeds of at

least 3,000 cans-per-minute. Belvac confirmed that the specification, figures,

and even prior art disclosed by the Asserted Patents contained no reference

to any other necking configurations. Crown’s only arguments in rebuttal are

untethered from the specification and unsupported by the evidence adduced

at trial. This Court should remand for entry of judgment of invalidity.




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                          STATEMENT OF THE ISSUES

     1.    Whether substantial evidence supports the jury’s verdict that

Belvac does not infringe the Asserted Claims.

     2.    Whether the Asserted Patents are invalid as a matter of law

under the on-sale bar, 35 U.S.C. § 102(b), or whether there was at least a

genuine dispute over the on-sale bar that precluded the District Court’s

grant of summary judgment to Crown.

     3.    Whether the Asserted Claims are invalid for lack of a written

description as a matter of law.

                          STATEMENT OF THE CASE

     Since the 1980s, Belvac has been at the forefront of horizontal die

necking machines, which add a tapered “neck” to the top of beverage cans.

Appx2859-2860;      Appx2862-2866;       Appx2868-2870;      Appx2901-2903;

Appx5313-5345; Appx4931-4964; Appx4966-5243.            From its perennial

favorite the 595 to its latest machine THE BELVAC Necker, for decades,

Belvac has continued to innovate its necking machines to address customer

demands for quality and productivity.           Id.; see also Appx2905-2906;

Appx2912. As a testament to its reputation, Belvac has sold its machines




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around the world, including to Crown, who for years was one of Belvac’s

top customers. Appx2919-2921; Appx2169.

        Seeing Belvac’s success, and after entering the market quietly for

several years, in 2007, Crown officially launched the 3400 necking machine.

Appx2921. Although touted as innovative, Crown developed the 3400 after

analyzing—and hiring outside vendors to explain—the mechanics of

Belvac’s preexisting machines. Appx2387-2412; Appx5272-5276; Appx5247-

5248; Appx5249-5250; Appx6318; Appx5271; Appx5251-5270; Appx4965;

Appx5244-5246; Appx3142-3144.        Indeed, while the 3400 has a rated

throughput speed of 3,400 cans-per-minute, Belvac sold higher-speed, 3,600-

CPM machines for at least a decade before the 3400 launched. Appx2906-

2907.

        As any worthwhile competitor would do, in 2013, Belvac added a new

high-speed machine, THE BELVAC Necker (TBN), to its catalog of offerings.

Appx2869-2871; Appx2926.       But unlike Crown, Belvac did not simply

repackage old technology—let alone copy Crown—to design its TBN

machine.     Belvac started with a clean slate, designing a machine that

achieved not only higher throughput speeds than the 3400, but did so using




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new configurations that reduced can loss and allowed for easier

maintenance. Appx2837-2842.

      Not content to simply compete with Belvac’s TBN, Crown accused

Belvac of copying the 3400 and the older technology on which it was based.

But as Belvac already knew and the evidence confirmed, the TBN is a

completely different machine from Crown’s technology.              In fact, even

though Crown obtained claim constructions that extended well beyond the

written disclosures of the Asserted Patents to try to read those claims onto

the TBN, it still failed to establish infringement.

I.    Relevant Technology

      This case relates to horizontal die necking machines that add tapered

“necks” to the top of beverage cans to reduce the diameter of the can top,

and thus the cost of producing the can. Appx5369-5390. Horizontal die

necking machines operate by moving an open-ended can body through

several turrets, or “stages,” set along a horizontal axis:




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 Appx4930. As a can body enters a stage, it moves around the “working arc”

 of the main turret in one of several “pockets” that contains an assembly that

 pushes the open end of the can and a “necking die” together. Appx3240;

 Appx2840-2841. Many machines such as Crown’s 3400 move the can into a

 stationary necking die (shown below right), while Belvac’s TBN moves the

 necking die onto a stationary can (shown below left), requiring that the

 assemblies be configured to one side. Appx3305.


                      TBN Configuration        3400 Configuration




Necking Die                                                                  Necking Die

                                                                               Can
      Can




        As the can engages the necking die, it enters the “throat” portion of the

 inside of the die (highlighted below), which guides the open end of the can

 along the “transition” portion to a “body” portion that has a smaller

 diameter than the throat.        Appx2225-2228.     The difference in diameter




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between the throat portion and body portion of the necking die causes the

open end of the can body (blue) to press inwards.



                                                                         Body Portion



                                                                           Transition




                                                                         Throat Portion


Id. The necking dies at each stage have body portions with progressively

smaller inside diameters such that the open end of the can incrementally

forms a tapered “neck.” Appx2228-2229.

II.   The Asserted Patents

      Crown alleged infringement of the ‘982, ‘784, and ’570 Patents. 1 The

Asserted Patents are continuations of, and share the same specification as

their parent, the ’843 Patent, which Crown filed as Application No.

12/109,176 on April 24, 2008. Appx5369-5390.




1 Crown does not appeal the non-infringement verdict on the ’570 Patent.

The ’570 Patent is subject to Belvac’s cross-appeal on invalidity.

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      The Asserted Patents are directed to “[a] horizontal multi-stage can

necking machine configured for high speed operations.” Appx5369. The

specification’s only embodiment for achieving “high speed operations”

describes an assembly whereby a can is moved into a stationary necking die.

The specification discloses Figure 2, which depicts a main turret having “a

plurality of pockets 42.” Appx5372. Each pocket in turn “has a pusher ram

30 on one side of the pocket 42 and a corresponding die 34 on the other side

of the pocket 42.” Id. The specification then explains that “the open end of

the can body is brought into contact with the die 34 by the pusher ram 30….”

Id.




Appx5383. The specification also discloses a longer “stroke length”—the

distance the can travels axially in each pocket—based on the position of “the

pusher ram 30 relative to the die 34,” confirming that there is a distance


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between the pusher ram that pushes the can and the die that receives it.

Appx5372. As Crown’s expert agreed, the specification describes only this

configuration and no others. Appx3614; Appx3616.

      At trial, Crown asserted that Belvac infringed claims 1, 7, and 8 of the

’570 Patent, claims 20, 22, 24, and 26 of the ’982 Patent, and claim 7 of the ’784

Patent. Exemplary claim 20 of the ‘982 Patent recites:

      20. A horizontal beverage can necking machine for forming necked
      beverage can bodies suitable for forming a seam with a beverage can
      end, the assembly comprising:

            multiple horizontal necking stages adapted for necking at least
            3000 beverage can bodies per minute, each necking stage being
            configured to rotate about a respective axis that is substantially
            parallel to a surface on which the necking machine is supported;

            the longitudinal centers of the adjacent necking stages forming
            an included angle with the longitudinal center of a transfer
            starwheel, measured with the longitudinal center of the transfer
            starwheel at the vertex, of no more than 170 degrees;

            each one of the necking stages including a main turret that
            includes: a main turret shaft, a main turret starwheel having
            plural pockets adapted for carrying can bodies, and a main gear
            mounted on the main turret shaft; each one of the pockets
            having a necking die at one end thereof and a pad on an
            opposing end;

            each necking die comprising:
            a throat portion having an inner surface that defines a cylinder
            having a throat portion diameter;



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            a body portion having an inner surface that defines a cylinder
            having a body portion diameter; and
            a transition portion having an inner surface that smoothly
            transitions from the inner surface of the throat portion to the
            inner surface of the body portion, wherein the throat portion is
            larger than the body portion diameter; and

            each one of the pockets of each one of the necking stages having
            a first configuration in which the can body is spaced apart from
            the necking die and a second configuration in which the can
            body is engaged with the necking die; in the first configuration
            the pad is spaced apart from the necking die by a first distance,
            in the second configuration the pad is spaced apart from the
            necking die by a second distance that is at least 1.5 inches [or 1.75
            inches in the ’784 Patent] less than the first distance;

            whereby the throat portion inner surface is adapted for
            enhancing concentricity of the can body relative to the die.

III.   Crown’s Pre-Critical Date Sales Efforts

       Crown did not dispute on summary judgment that its 3400 necking

machine embodies the alleged inventions of the Asserted Patents, including

the ’570 Patent.2 Appx4862-4876. Although Crown officially launched the

3400 in 2007, Crown offered to sell its machine several times in the years

before its official launch, including in a November 14, 2006 offer sent to U.S.-

based company Complete Packaging Machinery (the CPM Offer), whom

Crown identified as a customer at the time. Appx4724-4734; Appx4763.


2 In discussions of invalidity, “Asserted Patents” includes the ’570 Patent.



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      The manufacturer of the 3400, CMBE,3 sent the CPM Offer directly to

CPM’s representative and listed CPM’s Colorado address on the first page.

Appx4724. The Offer outlined the price and technical specifications for the

3400 and promised delivery within 30 weeks of receiving CPM’s order.

Appx4724-4725; Appx4728-4729. CMBE signed the Offer and also agreed to

keep the Offer open for 60 days. Appx4725. The Offer instructed CPM to

submit 50 percent of the purchase price with its order, with the remaining

50 percent due before shipment. Appx4730. CMBE included additional

terms to govern the parties’ relationship upon CPM’s acceptance, including

terms for the transfer of title and assignment of risk for damage or loss; a

force majeure clause; terms outlining warranties; terms for the installation and

testing of the 3400; and a choice-of-law provision. Appx4730-4734.

      Although CPM ultimately did not purchase the offered 3400, CMBE’s

representatives stated that CMBE treated purchase orders submitted in

response to offers like the CPM Offer as binding.              Appx4849-4851,

Appx4852.    Indeed, CMBE responded to purchase orders submitted in




3 CMBE is Crown’s engineering and manufacturing arm, responsible

primarily for manufacturing metal packaging, including cans, as well as
can-making machines like the 3400. Appx2145-2147.

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response to nearly identical offers by entering the orders in its system and

beginning production before acknowledging receipt of the order with the

customer. Appx4766-4847; Appx4737-4746; Appx4747-4752.

IV.   Belvac’s Accused TBN Machine

      Crown alleged that Belvac’s TBN machine infringed the Asserted

Patents. Appx1465-1493. Belvac has sold the TBN since 2013 as a high-speed

necking machine rated for 3,600 CPM. Appx2926.

      Depicted below, the TBN is a horizontal necking machine and includes

up to thirteen stages (main turrets) on a common base. Appx2857. The can

bodies move between each stage using transfer turrets. Appx2843-2845;

Appx5287.




                                                    Transfer Turret


                                Main Turret




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      As with all die necking machines, the TBN uses necking dies to form a

neck on the open end of a can body. But unlike most necking machines,

including the 3400, the TBN pushes the necking dies onto a stationary can

body, as shown below.         Appx5346; Appx2849-2852; Appx2840-2841;

Appx3305-3308. This configuration reduces the risk of can damage by

eliminating the front-to-back movement of the can as it moves between

stages. Id. It also consolidates the assemblies to one side of each pocket,

reducing the weight borne along (and thus the deflection of) the shafts

supporting those assemblies. Id.




      Pertinent to this appeal, the dies at stage 1 (and sometimes stage 2) of

the TBN have throat portions with a tapered inner surface, forming a conical

shape, while the dies in later stages have throat portions with parallel inner

surfaces, forming a cylindrical shape.     Appx5312-5360; Appx2855-2858;



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Appx3317-3326. The tapered throat portions of the stage 1 dies guide the

open end of an un-necked can into the body portion of the dies without

crushing the can, thereby preventing can waste. Id. As explained during

trial, the TBN could not achieve throughput speeds of at least 3,000 CPM

without tapered stage 1 dies. Id.

        Stage 1 Dies in TBN                   Stage 2+ Dies in TBN




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     The TBN also features a cantilevered design whereby the gears are

supported at only one end of the machine through a gear support hub

attached to the machine base, as shown below.

      Main Turret Gear                                   Main Turret Shaft
                              Gear Support Hub




Appx3310-3317; Appx5307; Appx2854-2855. This design allows operators to

more easily access the gears to change components and perform

maintenance, and also reduces the weight carried by the main turret shafts,

resulting in better gear alignment and reducing shaft deflection during

operation. Id.

V.   Procedural History

     Crown sued Belvac in 2018 for allegedly infringing the ‘570 and ‘982

Patents and added allegations under the newly issued ’784 Patent in 2020.



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Appx1046-1069; Appx1465-1493. After a two-week trial, a jury found that

Belvac does not infringe the Asserted Claims. Appx1-6.

      A.    Claim Construction

      Crown sought construction of “pusher assembly” in claim 1 of the ’570

Patent and “first configuration” and “second configuration” in claim 20 of

the ’982 Patent and claim 1 of the ’784 Patent. Appx4653-4657. Crown did

not seek construction of the key terms it now highlights on appeal: (1) the

“mounted on” limitation in claim 20 of the ’982 Patent; (2) the limitation

requiring that the multiple necking stages (and their associated dies) be

“adapted for” a minimum throughput speed; and (3) the limitation requiring

that the inner surface of the throat portion of each necking die “define[] a

cylinder,” which appears in all of the Asserted Claims. Id. Nor did Crown

seek constructions related to the structure of these limitations in relation to

each other. Id.

            1.    “Pusher Assembly”

      The District Court adopted Crown’s proposed construction of “pusher

assembly” in claim 1 of the ’570 Patent as “assembly for pushing together

the can body and the die.” Appx1447-1449. Thus, the District Court found

that “pusher assembly” could include either a can moving into a stationary


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die, a die moving onto a stationary can, or a combination of the die and can

moving together.     Id.   We refer collectively to these configurations for

moving a can and die together as “necking configurations.”

            2.    “First Configuration” and “Second Configuration”

      The District Court also adopted Crown’s proposed construction of

“first configuration” and “second configuration,” finding that the limitations

had their plain-and-ordinary meaning and referred to the positions of the

die relative to the can at the beginning and end of the assembly movement,

regardless of direction. Appx1451-1454. Thus, the District Court found that

the claimed configurations could include pushing a can into a die, pushing

a die onto a can, or a combination of the die and can moving together. Id.

      B.    Summary Judgment on the On-Sale Bar

      Relevant here, the parties cross-moved for summary judgment under

the on-sale bar.4 Crown conceded that the Asserted Patents were “ready for

patenting” at the time of the November 2006 CPM Offer and that the Offer




4 Belvac moved to invalidate the Asserted Patents based on only the CPM

Offer because pre-AIA § 102(b) requires that the offer be made “in this
country.” The AIA removed this requirement. Had AIA § 102(b) applied,
according to Crown’s own records, there would have been around thirteen
additional invalidating offers. Appx4762-4764.

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was made over a year before the earliest priority date of the Asserted

Patents. Appx4862-4876. The only dispute was whether the CPM Offer was

a commercial offer for sale made in this country. Id.

      The District Court granted summary judgment to Crown of no on-sale

bar. Appx4618-4621. After concluding that “the only disputed question”

was whether the CPM Offer was a commercial offer for sale, the District

Court found that the Offer was insufficiently definite because the terms of

the Offer required CMBE’s written approval of CPM’s purchase order. Id.

The District Court also relied on CMBE labeling the Offer a “quotation” or

“quote” in some places (ignoring that it was labeled an “offer” in others). Id.

      The District Court did not consider the other terms of the Offer. Those

terms included specific price, quantity, delivery, and payment terms—as

well as additional, nonessential terms—that this Court has found sufficient

to trigger the on-sale bar. Id. Nor did the District Court address the evidence

that CMBE treated purchase orders submitted in response to identical offers

as binding before providing written acknowledgment of the orders to its

customers. Id.




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      C.      Trial and Post-Trial Motions

      During the two-week trial, Belvac adduced evidence that it did not

infringe the Asserted Claims because the accused “multiple horizontal

necking stages” required at least stage 1 and its associated dies to operate at

the claimed throughput speeds and those dies did not satisfy the cylindrical

limitation. Appx3320-3326; Appx2856-2859; Appx5313; Appx2290. Belvac

also showed that it did not infringe the Asserted Claims of the ’982 Patent,

either literally or under the doctrine of equivalents, because the main gears

in the TBN were not “mounted on” the main turret shafts. Instead, those

gears were supported by gear support hubs attached to the base of the

machine, which resulted in better gear alignment and reduced shaft

deflection.    Appx3300-3301; Appx3311-3317; Appx2853-2856; Appx5307.

Belvac also showed that the Asserted Claims lack sufficient written

description support        because   the specification discloses       only one

configuration for marrying the can and the die, while the claims were

construed to cover all possible configurations.          Appx3177; Appx3181;

Appx3287-3298; Appx5347-5362; Appx26-61; Appx5369-5390.




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      The jury returned a verdict that Belvac does not infringe any of the

Asserted Claims and that the Asserted Claims are not invalid for lack of

written description. Appx3-6.

            1.    Crown’s Post-Trial Motions

      Crown moved for judgment as a matter of law or a new trial on

infringement of the ’784 and ‘982 Patents (but not the ‘570 Patent).

Appx3910-3912. As at summary judgment and on appeal, Crown argued

that the Asserted Claims required that only some of the necking stages

contain dies with a cylindrical inner surface, and so there was infringement

notwithstanding the TBN’s tapered stage 1 dies. Appx3921-3927. Crown

also contended that, even though the stage 1 dies were tapered, those dies

satisfied the cylindrical limitation, despite not seeking a claim construction.

Appx3927-3929.     Crown further argued that the jury could not find

noninfringement of the mounted limitation in the ‘982 Patent based on

Belvac’s evidence. Appx3929-3933.

      The District Court denied Crown’s motion. Appx18. The Court found

that the Asserted Claims required that each of the multiple necking stages

adapted for necking at least 3,000 CPM contain necking dies that met the

cylindrical limitation, and that Crown had not adduced evidence showing


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the TBN’s stage 1 dies (needed to achieve the claimed throughput speeds)

satisfied that limitation. Appx9-12. The District Court also found that Belvac

had not offered an improper construction of “defines a cylinder,” but

provided an appropriate interpretation of the plain-and-ordinary meaning

of the term to a POSITA at the time of the invention. Appx12. And the

District Court found that substantial evidence likewise supported Belvac’s

plain-and-ordinary meaning of “mounted on” in the Asserted Claims and

the jury’s ultimate finding that the TBN did not infringe the ’982 Patent

either literally or under the doctrine of equivalents. Appx12-15.

            2.    Belvac’s Post-Trial Motions

      Belvac separately moved for judgment as a matter of law or a new trial

on the issue of written description. Appx3938-3941. Belvac argued that the

Asserted Patents lacked a written description for the Asserted Claims as

construed because the parties’ experts both agreed that the specification

contained no description of necking configurations whereby a die moves

onto a stationary can or the can and die both move together. Appx3950-3954.

The District Court denied Belvac’s motion. Appx15-16. The Court entered

judgment on the jury’s verdict, and the parties appealed.           Appx19-25;

Appx4017-4024; Appx4053-4056.


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                          JURISDICTIONAL STATEMENT

      After the jury returned a verdict of noninfringement and before the

District Court had entered its final judgment, Crown moved prematurely for

judgment as a matter of law (“JMOL”) or a new trial on infringement,

contrary to the plain language of the Federal Rules requiring a separate

judgment be entered before filing motions under Rules 50(b) and 69.

Appx3910-3912. As a precaution, Belvac moved for JMOL or a new trial on

written description before the Court’s entry of a final judgment. Appx3938-

3941. The District Court later denied the parties’ motions and entered a final

judgment. Appx18-25.

      Within 28 days of the Court’s entry of judgment, Belvac filed a

renewed motion for JMOL or a new trial on written description, which the

District Court denied.     Appx4025-4046; Appx4051-4052.        Belvac timely

appealed from the final judgment. Appx4053-4056. This Court therefore has

appellate jurisdiction over this appeal pursuant to 28 U.S.C. §§ 1291 and

1295(a)(1).

                           SUMMARY OF ARGUMENT

I.    Substantial evidence supports the jury’s verdict that Belvac does not

infringe the sole asserted claim of the ’784 Patent (claim 7). The independent


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claim on which claim 7 depends requires that the accused assembly have

multiple necking stages adapted for achieving the claimed throughput

speeds and that the necking dies in each of those so-adapted stages also

satisfy the cylindrical limitation. To this end, Crown accused only the TBN

as a whole—including stage 1—of meeting the throughput limitation.

Belvac’s evidence in turn confirmed that without stage 1, the remaining

stages of the TBN could not achieve the required speeds. And Belvac further

proved that the stage 1 dies in the TBN do not satisfy the plain-and-ordinary

meaning of the unconstrued cylindrical limitation because they have an

inner surface that is tapered.

      Crown’s reliance on the use of “comprising” in the Asserted Claims

does not allow it to ignore this evidence.        As this Court has found,

“comprising” is not a “weasel word” with which patentees can abrogate

limitations but requires that each of the limitations listed be present in the

accused device. Spectrum International, Inc. v. Sterilite Corp., 164 F.3d 1372,

1379-80 (Fed. Cir. 1998). Claim 7 requires both multiple necking stages

adapted for necking at the claimed throughput speeds and necking dies at

each of those stages that practice the cylindrical limitation. The use of

“comprising” in fact confirms that these elements are “essential” for

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infringement. Genentech, Inc. v. Chiron Corp., 112 F.3d 495, 501 (Fed. Cir.

1997). Nor can Crown overcome this fact with its belated claim construction

arguments related to the “adapted for” limitation which it failed to raise

below and for which the evidence provides no support. And Crown’s claims

that Belvac engaged in improper claim construction are belied by the record.

Belvac’s expert opined on the plain-and-ordinary meaning of unconstrued

claim terms, as Crown’s own expert did, which the jury was free to credit in

reaching its verdict.

II.   Substantial evidence also supports the jury’s verdict that the TBN does

not infringe the ’982 Patent. The Asserted Claims of the ’982 Patent require

multiple necking stages adapted for the claimed throughput speeds and

necking dies at each so-adapted necking stage that satisfy the cylindrical

limitation. For the same reasons Belvac does not infringe the ’784 Patent,

Belvac does not infringe the ’982 Patent.

      Belvac also offered substantial evidence that the main gears in the TBN

are supported by gear support hubs, not the main turret shafts, such that

they are not “mounted on” the shafts as that term would be understood by

a POSITA at the time of the invention. Crown’s assertion that Belvac

improperly construed “mounted on” is once more belied by the record. And

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Crown’s reliance on one dictionary definition—which the jury evidently

rejected—does not undermine Belvac’s interpretation of the plain-and-

ordinary meaning of “mounted.”

       Crown’s argument on the doctrine of equivalents is similarly lacking.

Crown argues that Belvac improperly relied on a way and result of

mounting the gears in the TBN that is not disclosed in the ’982 Patent. But

this is precisely what this Court has held should be expected when there is

no equivalency in the accused component. Under the proper analysis,

Belvac compared the ways and results for mounting gears described in the

’982 Patent with the way and result for mounting the gears in the TBN, which

are not substantially the same.

III.   The District Court erred in finding as a matter of law that the Asserted

Patents are not invalid under the on-sale bar. It is undisputed that over a

year before the priority date of the Asserted Patents, Crown sent an offer for

the 3400 (which Crown contends embodies the Asserted Patents) to CPM in

the United States. The CPM Offer contained all of the terms that this Court

has found sufficient to create an invalidating offer, plus additional,

nonessential terms that confirmed Crown’s intent to form a contract. The

District Court improperly ignored these terms in giving controlling weight

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to the subjective labeling of the Offer as a “quotation” and one provision

ostensibly reserving Crown’s right to confirm purchase orders.            At a

minimum, the District Court erred in finding no genuine dispute of material

fact despite evidence that Crown treated orders submitted in response to

nearly identical offers as binding.

IV.   The Asserted Claims are also invalid as a matter of law for lack of

written description. Although Crown obtained constructions that cover all

possible configurations for bringing a can and die together, the

uncontroverted evidence established that the specification of the Asserted

Patents discloses only a configuration whereby the can is moved into a

stationary die. Crown failed to adduce evidence to support its post-trial

argument that the disclosure of a single species of necking configurations

covers the entire genus. Crown’s remaining arguments that the knowledge

of a POSITA and alleged non-criticality of necking configurations in the

abstract obviate the need for a written disclosure contradict this Court’s

precedent, which holds that knowledge and criticality merely inform how a

POSITA would understand the actual disclosures of the specification.

Crown’s arguments untethered from the specification cannot support the

jury’s verdict.

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      The District Court’s judgment of noninfringement should be affirmed,

and this Court should enter judgment of invalidity under the on-sale bar and

written description.

                                  ARGUMENT

I.    Substantial evidence supports the jury’s verdict that Belvac does not
      infringe the ’784 Patent.

      A.    Standard of Review

      This Court applies the law of the regional circuit in reviewing

decisions to deny motions for JMOL. InTouch Techs., Inc. v. VGO Commc’ns,

Inc., 751 F.3d 1327, 1338 (Fed. Cir. 2014). The Fourth Circuit reviews “the

denial of a [JMOL] de novo, but reverse[s] only if substantial evidence does

not support the jury’s findings.” United States v. Mallory, 988 F.3d 730, 736

(4th Cir. 2021) (citation omitted).

      B.    Substantial evidence established that the “multiple horizontal
            necking stages” accused by Crown of meeting the throughput
            limitation, which included stage 1 and its associated dies, do
            not also practice the cylindrical limitation.

      As the evidence at trial established, the TBN does not infringe claim 7

of the ’784 Patent (the only Asserted Claim of the patent) because the

“multiple necking stages” of the TBN that Crown asserted are adapted for

meeting the throughput limitation, which included stage 1, do not each



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contain dies that satisfy the cylindrical limitation. This position is supported

by the plain language of the claims.

      Claim 1 of the ’784 Patent, on which claim 7 depends, recites, in

relevant part:

      A horizontal beverage can necking machine for forming necked
      beverage can bodies suitable for forming a seam with a beverage
      can end, the assembly comprising:

            multiple horizontal necking stages adapted for necking at
            least 3000 beverage can bodies per minute. . . .

            each one of the necking stages including a main turret that
            includes: . . . a main turret starwheel having plural pockets
            adapted for carrying can bodies . . . each one of the pockets
            having a necking die at one end thereof and a pad on an
            opposing end;

            each necking die comprising:

            a throat portion having an inner surface that defines a
            cylinder [.]

Appx61 at 7:37-59 (emphasis added).

      Claim 1 thus claims a necking machine assembly “comprising” at least

these elements:

      1.    Multiple horizontal necking stages adapted for necking at least

            3,000 (or 3,400 for claim 7) cans-per-minute (CPM) (the

            “throughput limitation”); and

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      2.    Necking dies at each of the so-adapted stages that have a throat

            portion with an inner surface that “defines a cylinder” (the

            “cylindrical limitation”).

Based on the evidence adduced at trial, the jury could properly find that the

“multiple horizontal necking stages” adapted for meeting the throughput

limitation do not also contain dies that satisfy the cylindrical limitation such

that the TBN practices claim 7.

            1.    Substantial evidence confirms that the “multiple
                  horizontal necking stages” adapted for meeting the
                  throughput limitation included stage 1 and its associated
                  dies.

      First, under Crown’s own theory, the jury had substantial evidence to

find that the “multiple horizonal necking stages” adapted for meeting the

throughput limitation included stage 1 and its associated dies. In fact, the

only evidence Crown adduced from its technical expert regarding the

throughput limitation (reproduced in its entirety below) accused the TBN as

a whole—including stage 1—of meeting the throughput limitation:

      Q.    Let’s move down to the next part where in 1[b] where it
      says “adapted for necking at least 3000 beverage can bodies per
      minute.” Does THE BELVAC necker satisfy that language?

      A.    Per specification, it’s capable of 3600 so it exceeds the
      3000, yes.


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     Q.     And what are you showing on the right-hand side of slide
     25?

     A.  Some of the technical specs in the brochure from THE
     BELVAC necker.

Appx2522.     Crown’s other evidence also confirmed that the multiple

adapted stages included stage 1 and its associated dies. Appx2531-2539;

Appx3489-3493. Crown’s expert further admitted that if you used a stage 1

die in the TBN with no tapered throat surface, “you’d have high spoilage”

and would “crush a lot of cans.” Appx2621. And he admitted that he would

never recommend installing dies with a non-tapered throat. Appx2621.

     Belvac’s evidence confirmed that the “multiple horizontal necking

stages” adapted for necking at the claimed throughput speeds included

stage 1 and its associated dies. After identifying the connection between the

throughput limitation and the cylindrical limitation based on the claim

language, Appx3320, Belvac’s technical expert, Edmund Gillest, testified

that under the Asserted Claims “you have to be able to neck 3000 cans per

minute…And if you don’t have a first stage that is tapered, a die that is

tapered, you can’t meet that requirement,” Appx3317-3318.                Gillest

confirmed that an operator of the TBN would “need stage 1…in order to



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neck at least 3000 [CPM].” Appx3320; Appx3324-3325. And he opined that

if an operator removed stage 1 from the TBN and ran the machine starting

with stage 2—i.e., if the “multiple horizontal necking stages” did not include

stage 1—that “the TBN would not be capable of necking at least 3000

[CPM].” Appx3326.

      Besides Gillest, the jury also heard testimony from Belvac’s chief

engineer on the TBN project, Harold Marshall. Appx2835, Appx2837-2838.

Marshall testified that the reason the TBN’s stage 1 dies have a tapered throat

portion is because when an un-necked can enters stage 1 of the TBN, the

open end has an oval shape which means that the stage 1 dies must have a

taper “to help aid in the loading process when the die comes over the can.”

Appx2856; see also Appx2856-2857 (testifying that every TBN stage 1 die has

a taper); Appx5312. And Marshall confirmed that the TBN could not neck at

least 3,000 CPM without tapered stage 1 dies. Appx2858-2859.

      On this record, the jury could conclude that the multiple stages

adapted for necking at the claimed throughput speeds included stage 1 and

its associated dies, and, conversely, that stages 2 through 13 of the TBN,

alone, are not “adapted for necking at least 3000 [or 3400] beverage can

bodies per minute.”

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            2.    Substantial evidence supports the jury’s finding that the
                  stage 1 dies in the TBN do not satisfy the limitation that
                  each necking die have a throat-portion inner surface that
                  “defines a cylinder.”

      With substantial evidence that the “multiple horizontal necking

stages” adapted for necking at the claimed throughput speeds included

stage 1, under the language of the claims, the jury needed to determine

whether the dies at stage 1 of the TBN also met the cylindrical limitation. On

that question, substantial evidence likewise supported the jury’s verdict.

      Gillest opined that all stage 1 dies in the TBN have throat portions with

an inner surface that has a two-to-three-degree taper, using a diagram of the

stage 1 dies (shown below) to demonstrate the tapering to the jury.

Appx3320-3321; Appx5312.




Gillest then explained that a POSITA at the time of the invention would have

understood “defines a cylinder” to require that an inner surface of the throat



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portion be cylindrical. Appx3321-3324. Gillest opined that a POSITA would

understand cylindrical to mean that the inner surface of the throat portion

has “straight parallel [side] walls…on the entire surface,” citing as support

his experience in the industry and the definition of “cylinder” from the time

of the invention. Appx3322-3323; Appx3324.

      Gillest then explained that the inner surface of the throat portion in the

stage 1 dies is known technically as a conical shape, which does not “define

a cylinder” as the claims require. Appx3323-3324. Based on a comparison

of the tapered inner surface of the TBN stage 1 dies to the plain meaning of

“defines a cylinder,” Gillest concluded that the TBN stage 1 dies do not have

a throat-portion inner surface that defines a cylinder and thus do not satisfy

the cylindrical limitation. Appx3325; Appx3326. Marshall also testified that

the stage 1 dies on the TBN have a “tapered throat,” while the throat portion

of the dies on other stages are “cylindrical.” Appx2856; Appx2857-2858;

Appx5312-5313.

      Together, this testimony and the supporting documents provided

substantial evidence for the jury to conclude that the TBN stage 1 dies do not

satisfy the cylindrical limitation, and that the TBN thus does not infringe

claim 7. The District Court properly credited this evidence in denying

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Crown’s JMOL motion. Appx9-12. The District Court’s judgment that

Belvac does not infringe claim 7 of the ’784 Patent should thus be affirmed.

      C.    Crown’s arguments for overturning the jury’s verdict are
            unsupported by the law and the evidence.

            1.    The use of “comprising” in the Asserted Claims did not
                  permit Crown to ignore the non-infringing stage 1 dies.

      Crown argues that the jury improperly relied on the existence of

tapered stage 1 dies in the TBN that do not practice the cylindrical limitation

to find noninfringement of claim 7. Opening Br. (“Br.”) at 32-42. Crown

contends that because claim 1 on which claim 7 depends uses the transition

phrase “comprising” before introducing the claim elements, the existence of

stages without dies that satisfy the cylindrical limitation is irrelevant. Id.

      Crown’s argument ignores the plain language and structure of claim

1, as well as this Court’s precedent on “comprising” limitations. As detailed

above, that claim recites an “assembly comprising,” in relevant part: (1)

“multiple horizontal necking stages adapted for necking at least 3000

beverage can bodies per minute”; and (2) necking dies at each of the so-

adapted necking stages further “comprising…a throat portion having an

inner surface that defines a cylinder having a throat portion diameter[.]”

Appx61 at 7:37-59. Because the word “comprising” appears before these


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elements, to infringe, the accused assembly must comprise “multiple

horizontal necking stages” that satisfy the throughput limitation and dies at

each of those stages that satisfy the cylindrical limitation. Genentech, Inc., 112

F.3d at 501 (stating elements following “comprising” are “essential”).5

       This reading follows this Court’s precedent on “comprising”

limitations. For example, in Dippin Dots, Inc. v. Mosey, this Court considered

claims directed to a process for creating and storing ice-cream “beads.” 476

F.3d 1337, 1342-43 (Fed. Cir. 2007). Because the district court had construed

“beads” to require that the claimed process produce spherical droplets, that

court found the claims could not cover the accused process that created both

spheres and irregular particles. Id. In affirming that conclusion, this Court

rejected the patentee’s argument that the use of “comprising” before naming

the process steps meant that the creation of noninfringing particles was

irrelevant. Id. This Court explained that “[t]he presumption raised by the




5 To be clear, Belvac did not argue that the claims must read on the TBN as

a whole, including stage 1, because of the comprising language. Instead,
Crown asserted, and Belvac confirmed, that the accused necking
“assembly” comprised multiple necking stages inclusive of stage 1 to meet
the throughput limitation. Based on the language of the claims, those
stages must therefore also include dies that meet the cylindrical limitation.
The use of “comprising” does not allow Crown to avoid this fact.

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term ‘comprising’ does not reach into each of the [claimed] steps to render

every word and phrase therein open-ended.” Id. Thus, while the claimed

process could include additional, unclaimed steps that produce spherical

beads, the patentee could not avoid the requirement that the process

produce only spherical “beads,” as recited by the claims. Id.

      Similarly, in Spectrum Int’l, Inc., this Court considered claims directed

to stackable crates “comprising” a bottom side that merged with the bottom

of the crate’s front wall. 164 F.3d at 1375-77. The district court found that

the accused crate did not literally infringe because the bottom side merged

with the top of the front wall, contrary to the claim language. Id. at 1375. On

appeal, the patentee argued that the use of “comprising” to describe the

elements of the claimed crate meant that the claims should be read to cover

crates in which the bottom merges with the top of the front wall. Id. at 1376.

In rejecting this argument, this Court found that “comprising” could not be

used to “alter[] the scope of the particular claim at issue” or as a “weasel

word with which to abrogate claim limitations.” Id. at 1379-80. Because the

patentee could not show that the claims could otherwise be construed to

apply to the accused crate, this Court affirmed the finding of

noninfringement. Id.

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      As in those cases, the jury had to consider whether Crown had shown

that each of the claim elements after “comprising” existed in the TBN.

Accordingly, the District Court properly found that the jury could consider

both (a) whether the claimed multiple necking stages “adapted for” necking

at the claimed throughput speeds necessarily included stage 1 and its

associated necking dies, and (b) if so, whether the stage 1 dies satisfy the

cylindrical limitation.

      Crown’s argument that the District Court improperly framed these

questions as asking whether stage 1 was “essential” to operating the TBN

mischaracterizes the record. Belvac did not argue, and the District Court did

not find, that there could be no infringement if the stage 1 dies were

“essential” to the TBN’s operation as a machine. Instead, the Court found that

the jury could find noninfringement based on evidence that the accused

“multiple horizontal necking stages” necessarily included stage 1 for

purposes of the throughput limitation and that the dies at stage 1 did not

satisfy the cylindrical limitation. Appx4595-4597. In other words, because a

stage “essential” to meeting one limitation (the throughput limitation) did

not satisfy other limitations (the cylindrical limitation), there was no

infringement.

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               2.    Crown’s argument that stages 2-13 were “adapted for”
                     meeting the throughput limitation relies on a waived
                     construction and is unsupported by the evidence.

      Crown alternatively argues that stages 2-13 of the TBN were

nonetheless “adapted for” necking at the claimed throughput speeds such

that they alone infringed. Br. 41 n.6. Crown argues that “adapted for”

merely requires that stages 2-13 be “capable of” the claimed throughput

speeds, regardless of stage 1. Id. This argument fails for at least three

reasons.

                     (a)      Crown waived its belated construction of “adapted
                              for.”

      First, Crown has waived its right to rely on its proposed construction

of “adapted for” to challenge the jury’s verdict. Although Crown now

argues the jury should have concluded that stages 2-13 are “adapted for”

necking at the claimed throughput speeds because they are “capable of”

those speeds when combined with stage 1, Crown sought no constructions

related to “adapted for,” let alone a construction that would support its

belated “capable of” meaning.           Appx4630-4661.      Nor did Crown seek

construction of “adapted for” at any point before the jury’s verdict.

Accordingly, Crown waived any right to rely on its belated construction

post-trial.

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      “It is well-settled that a party cannot reserve a new claim-construction

argument for the post-trial motion stage of litigation.” Power Integrations,

Inc. v. Fairchild Semiconductor Int’l, Inc., 904 F.3d 965, 974 (Fed. Cir. 2018).

Instead, if Crown wanted a construction of “adapted for” that allowed for

consideration of only stages 2-13, it “could (and should) have sought a

construction to that effect.” ePlus, Inc. v. Lawson Software, Inc., 700 F.3d 509,

520 (Fed. Cir. 2012). By failing to raise its proposed construction until now,

Crown waived the right to rely on that construction to challenge the jury’s

verdict. Id.; Power Integrations, 904 F.3d at 974. So the jury was free to apply

the plain-and-ordinary meaning of the unconstrued “adapted for” limitation

based on the evidence.

                  (b)     Crown’s belated construction is undermined by
                          this Court’s precedent.

      Second, even if Crown had not waived its proposed construction, this

Court’s precedent contradicts that construction. This Court has consistently

found that the plain-and-ordinary meaning of “adapted to/for” means

“made to,” “designed to,” or “configured to” when a patent claim refers to

structural elements that are defined by the function they perform. See, e.g.,

Cochlear Bone Anchored Sols. AB v. Oticon Med. AB, 958 F.3d 1348, 1356 (Fed.



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Cir. 2020) (claim requiring frequencies in hearing aid that are “adapted to”

transmit vibrations in the skull required frequencies that were “designed to”

achieve claimed transmission); In re Man Machine Interface Techs. LLC, 822

F.3d 1282, 1286 (Fed. Cir. 2016) (claim requiring “thumb switch being

adapted for activation by a human thumb” required switch to be configured

to thumb activation); In re Giannelli, 739 F.3d 1375, 1379 (Fed. Cir. 2014)

(claim requiring a “first handle portion adapted to be moved…by a pulling

force” required handle to be “designed/configured to” movement by

pulling force). Here, as in those cases, the ’784 Patent describes structural

elements (i.e., “horizontal necking stages”) that are defined by the function

they perform (i.e., achieving throughput speeds of at least 3,000 CPM). This

Court’s precedent requires those stages be “designed/configured to”

achieve those speeds.

     Crown fails to support its proposed construction of “adapted for.”

Crown relies on Intel Corp. v. USITC, which found that the accused device

need only be capable of performing in a specific mode because of claim

language not present here: the claims required only that the device be

“programmable” to that mode. 946 F.2d 821, 832 (Fed. Cir. 1991) (emphasis

supplied). Thus, “actual page mode operation in the accused device is not

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required.” Id. R.A.C.C. Indus., Inc. v. Stun-Tech, Inc. likewise affirmed

construction of a claim directed to a prisoner restraint belt that was “capable

of concealment” and “concealable beneath said appropriate clothing” as

requiring only that the restraint be “capable of” concealment. 178 F.3d 1309,

*4 (Fed. Cir. 1998) (emphasis added). The Asserted Claims here, by contrast,

require that the claimed stages be “adapted for” specific throughput speeds.

Even if the Court were to reach the issue, the plain-and-ordinary meaning

urged by Belvac comports with this Court’s precedent.

                  (c)     The unrefuted evidence demonstrated that stages
                          2-13 were not “adapted for” meeting the
                          throughput limitation.

      Finally, the evidence introduced by the parties, including Crown,

established that stages 2-13 were not “adapted for” meeting the throughput

limitation.

      Belvac adduced evidence that to be configured to achieve the claimed

throughput speeds, the TBN required stage 1 and its dies. Appx3317-3318;

Appx3320;     Appx3324-3325;      Appx3326;     Appx2856;      Appx2856-2857;

Appx2858-2859; Appx5312. Crown did not refute this evidence. Nor did it

offer an alternative interpretation of “adapted for” that the jury could credit.

In fact, Crown, who bore the burden of proof, affirmatively relied on the TBN


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as a whole (including stage 1) to establish infringement. Appx2522. Crown at

no point offered evidence that stages 2-13, alone, were adapted for the

throughput limitation. Crown also relied on the theory that the stage 1 dies

literally infringed the cylindrical limitation, without arguing that the jury

could ignore stage 1 or addressing whether stages 2-13 of the TBN would

nonetheless also infringe.    Appx2531-2539.       By its own choice, Crown

adduced evidence that the TBN could infringe only if the “multiple

horizontal necking stages” included stage 1 and its associated necking dies.

      For this reason, Crown’s reliance on SunTiger v. Scientific Research

Funding Group is misplaced. 189 F.3d 1327, 1329 (Fed. Cir. 1999). There, the

patentee adduced evidence that a portion of the accused lens met all the

claim limitations. Id. at 1331. Because the evidence showed that at least part

of the accused device infringed, the existence of other, noninfringing

elements was irrelevant. Id. at 1336. Here, on the other hand, Crown

adduced no evidence that stages 2-13 of the TBN infringed regardless of

stage 1, so there was no basis for the jury to ignore stage 1 and its dies.




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            3.    The jury could rely on Gillest’s testimony on the plain-
                  and-ordinary meaning of “defines a cylinder” to find
                  noninfringement.

      Recognizing that Belvac adduced substantial (and unrefuted) evidence

that stage 1 and its associated dies are necessary to meet the throughput

limitation, Crown resorts to mischaracterizing Belvac’s testimony on the

plain-and-ordinary meaning of “defines a cylinder” as improper claim

construction. Br. 43-47. Crown also contends that the evidence contradicts

Belvac’s interpretation of the cylindrical limitation. Br. 47-49. The record

belies these arguments.

                  (a)     Belvac offered expert testimony on the plain-and-
                          ordinary meaning of “defines a cylinder.”

      Contrary to Crown’s characterization, Belvac solicited testimony from

its expert that a POSITA at the time of the invention would have understood

the cylindrical limitation to require that the throat portion of each necking

die have an inner surface that has “straight parallel [side] walls,” meaning

the inner surface is “cylindrical.” Appx3321-3324. Gillest based this opinion

on his experience in the relevant field of art and the dictionary definition of

“cylinder” at the time of the invention. Appx3322-3323; Appx3324.

      Because there was no construction of the cylindrical limitation, Gillest

could offer his opinion on the plain-and-ordinary meaning of the limitation,

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just as Crown’s expert did, and the jury could rely on Gillest’s opinion to

reach its verdict. Asetek Danmark A/S v. CMI USA Inc., 852 F.3d 1352, 1359-

60 (Fed. Cir. 2016) (holding jury could determine the “plain meaning” of an

unconstrued claim term). In fact, “it is too late at the JMOL stage to argue

for or adopt a new and more detailed interpretation of the claim language

and test the jury verdict by that new and more detailed interpretation,” as

Crown attempts to do here. Hewlett-Packard Co. v. Mustek Sys., Inc., 340 F.3d

1314, 1320-21 (Fed. Cir. 2003). Simply put, Gillest offered a competing

opinion on the plain-and-ordinary meaning of the cylindrical limitation, and

the jury properly credited Gillest’s opinion.

      Crown’s attempt to recast Gillest’s testimony as redefining “defines a

cylinder” as “is a cylinder” is unavailing. Crown relies on a single line of

testimony asking Gillest on cross-examination whether he “thought” the

claims said “the die throat is a cylinder.” Appx34917; Appx3492. Gillest

responded affirmatively, consistent with his opinion that a POSITA would

have understood “defines a cylinder” to require that the throat portion of

each die have an inner surface that is cylindrical. Appx3321-3324. Gillest

was not offering a new construction of the cylindrical limitation, but




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interpreting the plain meaning of that limitation from the contemporaneous

perspective of a POSITA.

      Crown’s reliance on Moba, B.V. v. Diamond Automation, Inc., is

misplaced. 325 F.3d 1306 (Fed. Cir. 2003). In that case, the district court

instructed the jury on the “steps” involved in the claimed “guiding steps”

but allowed the jury to determine whether the steps had to be performed

sequentially. Id. at 1313. This Court found that the district court’s failure to

instruct the jury on whether the claimed steps must be performed

sequentially allowed the jury to include an additional limitation

(sequentiality) that was not present in the claims. Id. This, the Court found,

amounted to an improper claim construction by the jury. Id.

      Here, on the other hand, the jury did not need to apply additional

limitations to determine infringement; it could simply credit Belvac’s

evidence that “defines a cylinder” would be understood by a POSITA at the

time of the invention as requiring that the throat portion have a cylindrical

inner surface. Appx3321-3324. Crown’s subjective disagreement with this

evidence is not a basis to reverse the jury’s decision.




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                   (b)    Belvac’s evidence on the plain-and-ordinary
                          meaning of “defines a cylinder” did not contradict
                          the record.

      Nor did Gillest’s opinion on the plain-and-ordinary meaning of the

cylindrical limitation conflict with the other evidence presented at trial, as

Crown asserts. Although Crown argues Belvac’s position contradicts Figure

6B of the specification, the Asserted Patents do not themselves describe

Figure 6B as showing a tapered die. See Appx60 at 5:46-55. The jury was

certainly not required to rely on Figure 6B, the proportions of which are not

indicated in the specification, to define the scope of the claims. Hockerson–

Halberstadt, Inc. v. Avia Grp. Int’l, Inc., 222 F.3d 951, 956 (Fed. Cir. 2000); see

also Nystrom v. TREX Co. Inc., 424 F.3d 1136, 1149 (Fed. Cir. 2005)

(“arguments based on drawings not explicitly made to scale in issued

patents are unavailing”). And even if Figure 6B showed a tapered die,

Crown did not object to the District Court’s instruction that “[o]nly the claims

of the patent can be infringed. Neither the written description, nor the

drawings of a patent can be infringed.” See Appx3676. At best, Figure 6B

was one factor that the jury could consider in deciding the plain-and-

ordinary meaning of the cylindrical limitation.




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      Likewise, although Crown argues that every necking machine,

including the 3400, has tapered stage 1 dies, it presented no evidence that

either (a) all necking machines have tapered stage 1 dies, or (b) the 3400’s

stage 1 dies satisfy the cylindrical limitation. In fact, the sole drawing of a

3400 stage 1 die in evidence includes an “inner surface” that appears to be

flat, as shown by the portion labeled “.100 FLAT,” which Crown did not

refute. Appx4061. There was therefore no evidence on which the jury could

reach the conclusion Crown now asks this Court to find is the only

reasonable one.

II.   Substantial evidence supports the jury’s verdict that Belvac does not
      infringe the ‘982 Patent.

      Crown’s arguments to reverse the jury’s verdict that Belvac does not

infringe the Asserted Claims of the ’982 Patent also lack merit.

      A.    The TBN does not infringe the ’982 Patent for the same reasons
            it does not infringe the ’784 Patent.

      Like claim 7 of the ’784 Patent, the ’982 Claims require “multiple

horizontal necking stages adapted for necking” at the claimed throughput

speeds, and that “each one of the necking stages” contain necking dies that

satisfy the cylindrical limitation.   Appx43 at 9:39-10:12.      Based on this

identical language, as detailed above, Belvac adduced substantial evidence


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that: (1) the stage 1 dies in the TBN do not satisfy the cylindrical limitation

(Appx3320-3324;     Appx3325;     Appx3326;     Appx2856;      Appx2857-2858;

Appx2290; Appx5312-5313); and, (2) stage 1 and its dies are required to

satisfy the throughput limitation (Appx3317-3318; Appx3320; Appx3324-

3325; Appx3326; Appx2856; Appx2856-2857; Appx2858-2859; Appx5312).

Just as with the ’784 Patent, therefore, the jury could rely on this evidence to

find noninfringement of the ’982 Claims.

      B.    Substantial evidence supports the verdict that Belvac does not
            infringe the mounted limitation literally or under the doctrine
            of equivalents.

      Substantial evidence supports the jury’s verdict on the ’982 Claims for

the independent reason that Belvac does not infringe, either literally or

under the doctrine of equivalents, the limitation requiring that the main gear

of each necking stage be “mounted on the main turret shaft” (the “mounted

limitation”). Appx43 at 10:7.

            1.    Belvac does not literally infringe the mounted limitation.

      After opining on the plain-and-ordinary meaning of “mounted on,”

Gillest demonstrated to the jury that in the TBN, the main gear is not

mounted on the main turret shaft but on a gear support hub, which supports

the main gear’s weight and is part of the base of the machine. Appx3300-


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3301; Appx3312-3314. Based on this comparison of the TBN to the claim

language, Gillest concluded that the TBN does not literally infringe the

mounted limitation. Appx3314; Appx3300-3301.

        The jury also heard from Marshall that in the TBN, “[the gear support]

hub…is what supports the weight of the gears.” Appx2853. The jury saw

how the gears are mounted in the TBN using a cut-away view of the shaft

assembly, which depicts the gear support hub as part of the machine base.

Appx2854; Appx2855 (discussing Appx5307). Marshall confirmed that the

shaft does not support the weight of the main gear in the TBN, and that an

operator can even remove the shaft without removing the gear. Appx2854-

2855.

        Based on this evidence, the jury could reasonably conclude that the

TBN does not literally infringe the mounted limitation.

             2.    Belvac does not infringe the mounted limitation under
                   the doctrine of equivalents.

        Belvac likewise adduced substantial evidence that the TBN does not

infringe the mounted limitation by use of an equivalent component. Gillest

opined that while the ’982 Claims describe main gears mounted directly on

the main turret shaft, the TBN’s gears are mounted on a gear support hub,



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giving the TBN “much better gear alignment” and avoiding “shaft

deflection.” Appx3316-3317. Marshall also testified that Belvac intentionally

changed the design of the TBN’s gear mounts to avoid deflection of the shaft

caused by the gears’ weight. Appx2853-2855; Appx5307. The TBN therefore

uses a different way—mounting the gears on a gear support hub—to achieve

a different result—creating better gear alignment and avoiding shaft

deflection—than the way and result described in the ’982 Patent. The jury

could rely on this evidence to find noninfringement under the doctrine of

equivalents.

     C.    Crown present no basis for overturning the jury’s verdict on
           the ’982 Patent.

           1.    The jury properly relied on the plain-and-ordinary
                 meaning of “mounted on” offered by Belvac’s expert.

     Crown argues that Belvac offered an improper construction of

“mounted on” beyond its plain-and-ordinary meaning. Br. 51-54. But

Belvac simply offered evidence of how a POSITA at the time of the invention

would interpret the unconstrued claim language.

     Gillest explained that a POSITA at the time of the invention would

understand “mounted on” to mean that the main turret shaft “must support

the weight of the gear.”    Appx3310-3311.      Gillest did not “change the


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meaning” of “mounted on,” as Crown contends, but explained that his

opinion was based on the perspective of a POSITA using his experience in

the field, a contemporaneous definition of “mounted,” manuals and

drawings, discussions with Belvac engineers, and the specification of the

’982 Patent.   Appx3311-3312.    The jury could credit this testimony in

applying the plain meaning of the unconstrued mounted limitation. Asetek,

852 F.3d at 1359-60.

      Crown contends that Gillest’s testimony on the plain meaning of

“mounted” is untenable because being “attached to a support” was not the

“exclusive” definition of “mounted” in the dictionary definition introduced

by Belvac. Br. 52 (citing Appx3485). But Crown ignores that Gillest did not

rely solely on this definition to opine on the plain-and-ordinary meaning of

“mounted on.”     Appx3311-3312.    In any case, Crown made the same

argument to the jury that it now raises here.       Appx3485-3486. The jury

rightly rejected that argument using its own common sense and the other

evidence adduced by Belvac, as it was instructed to do without Crown’s

objection. Appx3670.




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      The jury thus could rely on Gillest’s testimony regarding the plain

meaning of “mounted on” in deciding that the TBN does not infringe the

unconstrued mounted limitation.

            2.    Belvac properly relied on a way and result of mounting
                  the gears in the TBN that substantially differed from the
                  way and result of mounting described in the ’982 Patent.

      Crown argues that Belvac improperly relied on a function, way, and

result for the TBN that is not supported by the claims or specification of the

’982 Patent. Br. 54-57. That argument turns the doctrine of equivalents on

its head. Only the function, way, and result of the claim limitation must be

grounded in the disclosure of the patent-in-suit. There is no requirement

that the function, way, or result achieved by the relevant component(s) in the

accused product also be grounded in the same disclosure.

      The doctrine of equivalents asks, for each relevant claim element,

“whether a substitute element matches the function, way, and result of the

claimed element, or whether the substitute element plays a role substantially

different from the claimed element.” Warner-Jenkinson Co. v. Hilton Davis

Chem. Co., 520 U.S. 17, 40 (1997). Thus, as with a literal infringement analysis,

the relevant comparison under the doctrine of equivalents is of the patent

claims—the function, way, and result of the claim limitation described in the


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patent—to the accused component—the function, way, and result of the

accused component—and only the former inquiry requires consideration of

the specification. In fact, this Court has found that a patent will “naturally

be silent” when, as here, the accused device has a different function, way, or

result. See Stumbo v. Eastman Outdoors, Inc., 508 F.3d 1358, 1364-65 (Fed. Cir.

2007) (further rejecting argument that a patent’s silence “makes this

[extrinsic]     evidence   [of   the   accused    device’s   function-way-result]

irrelevant”).

      Crown’s reliance on AquaTex Indus., Inc. v. Techniche Solutions does not

alter this analysis. There, this Court faulted the district court for adopting a

function, way, and result of the disputed claim limitation using “information

taken from Plaintiff’s website” that described the patentee’s product.

Instead, the district court should have used descriptions of the limitation’s

function, way, and result in the claims and specification. 479 F.3d 1320, 1327-

28 (Fed. Cir. 2007). It was the district court’s reliance on the patentee’s product

to determine the function, way, and result of the claim limitation that resulted

in error. The error was not (as Crown contends) the reliance on extrinsic

evidence to inform the function, way, and result of the accused component.




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      Consistent with this Court’s precedent, Gillest opined that while the

’982 Claims describe main gears mounted directly on the main turret shaft,

the TBN’s gears are mounted on a gear support hub, giving the TBN “much

better gear alignment” and avoiding “shaft deflection.” Appx3314-3317.

This opinion was supported by other evidence. Appx2853-2855; Appx5307.

      Additionally, Gillest’s explanation of how the mounted limitation is

described in the ’982 Patent was based on the language of the patent’s claims

and specification, both of which describe and depict main gears mounted on

the main turret shaft. See Appx30; Appx39 at 2:57-60. Consistent with these

descriptions, Gillest explained to the jury that the ’982 Patent describes a way

of attaching the gears to the shaft (i.e., direct mounting) that was different

and did not accomplish the same results as the way of attaching the gears in

the TBN (i.e., mounting on a gear support hub). Appx3311-3312. Gillest

therefore properly considered and compared the claim limitation with the

accused component in the TBN, and his opinion provided substantial

evidence to support the jury’s verdict.6


6 Even under Crown’s errant argument, the ’982 Patent provides intrinsic

support for the importance of the result achieved by the non-infringing
mounting arrangement of the TBN. For example, the specification describes
the importance of gear alignment to the functioning of the invention.

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                                       ***

       Because substantial evidence supports the jury’s verdict on

infringement, the District Court’s judgment of noninfringement should be

affirmed.

III.   The Asserted Patents are invalid under 35 U.S.C. § 102(b).

       American law has long considered the “voluntary act or acquiescence

in the public sale and use” of an invention as the “abandonment of [the

inventor’s] right [to a monopoly of that invention].” Pennock v. Dailogue, 2

Pet. 1, 24 (1829). This is because inventors would be allowed to improperly

extend their monopoly over an invention if they could first commercialize

and promote it before filing for patent protection. Pfaff v. Wells Elecs., Inc.,

525 U.S. 55, 64-65 (1998). To discourage extended monopolization of ideas,

since the 1800s, Congress has enacted an “on-sale bar” to invalidate patents

whose inventions have been on sale for more than a specified period before

the patent application is filed. Id.




Appx42 at 7:12-16 (“Even a small freewheeling effect in which a driven gear
loses contact with its driving gear could introduce variation in rotational
speed…or misalignment as the gear during operation would not be in its
designed position during its rotation.”).


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      Under the pre-AIA on-sale bar, a patent claim is invalid if “‘the

invention was…on sale in this country, more than one year prior to the date

of the application for patent in the United States.’”7           Junker v. Med.

Components, Inc., 25 F.4th 1027, 1032 (Fed. Cir. 2022). The “on-sale bar is

triggered if, before the critical date, the claimed invention was both (1) the

subject of a commercial offer for sale and (2) ready for patenting.” Id. (citing

Pfaff, 525 U.S. at 67-68). “Whether the on-sale bar applies is a question of law

based on underlying factual findings.” Meds. Co. v. Hospira, Inc. (Medicines

I), 827 F.3d 1363, 1371 (Fed. Cir. 2016).

      Here, the undisputed evidence established both elements as a matter

of law, and the District Court’s denial of Belvac’s motion for summary

judgment under the on-sale bar should be reversed. See Junker, 25 F.4th at

1035 (reversing judgment on cross-motions in same posture).                At a

minimum, the grant of summary judgment to Crown should be reversed,

and the case should be remanded for further proceedings.




7 The parties do not dispute that the pre-AIA on-sale bar applies to the

Asserted Claims because the applications for the Asserted Patents were
filed before March 16, 2013. See Pub. L. No. 112-29 § 3(n), 125 Stat. 284, 293
(2011).

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      A.    The on-sale bar invalidates the Asserted Patents as a matter of
            law because the claimed invention was on sale more than one
            year before the earliest application date.

            1.     Standard of Review.

      This Court reviews summary judgment decisions under the law of the

regional circuit. Id. at 1032. The Fourth Circuit reviews the grant or denial

of summary judgment de novo under the same legal standards as the district

court. Cannon v. Vill. of Bald Head Island, 891 F.3d 489, 497 (4th Cir. 2018).

Summary judgment is appropriate when, drawing all justifiable inferences

in the nonmovant’s favor, “there is no genuine dispute as to any material

fact and the moving party is entitled to a judgment as a matter of law.” Fed.

R. Civ. P. 56(a); Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255 (1986).

            2.     The District Court erred in denying Belvac’s motion for
                   summary judgment under the on-sale bar.

      The District Court erred in denying Belvac’s motion for summary

judgment that the Asserted Patents are invalid under the on-sale bar,

because each relevant factor was satisfied as a matter of law.

                   (a)     Crown did not dispute that the invention claimed
                           by the Asserted Patents was “ready for patenting”
                           at the time of the November 2006 CPM Offer.

      Crown does not dispute that the Asserted Patents were “ready for

patenting” at the time of the CPM Offer, because, according to Crown, the


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offered 3400 reduced to practice the claims of the Asserted Patents.

Appx4862-4863.

                  (b)     The CPM Offer was a commercial offer for sale.

      The undisputed facts also establish that the CPM Offer was a

commercial offer for sale.        Whether a communication constitutes a

commercial offer for sale is based on the facts of each case “‘apply[ing]

traditional contract law principles.’” Junker, 25 F.4th at 1032 (quoting Merck

& Cie v. Watson Lab’ies, Inc., 822 F.3d 1347, 1351 (Fed. Cir. 2016)). Among the

factors courts should consider in determining whether a communication is a

commercial offer are “‘the terms of any previous inquiry, the completeness

of the terms of the suggested bargain, and the number of persons to whom

a communication is addressed.’” Id. at 1033 (quoting Restatement (Second)

of Contracts (“Restatement”) § 26 cmt. c (1981)).8

      Applying these factors, this Court has found that communications

addressed to a specific recipient that contain sufficiently definite terms

regarding the proposed sales transaction constitute a commercial offer for




8 Treatises like Corbin on Contracts (“Corbin”) and the Restatement

provide the “traditional contract law principles” that guide the on-sale bar
analysis. Junker, 25 F.4th at 1032-33.

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sale. For example, in Junker, this Court held that a letter addressed directly

to the offeree specifying the conditions of delivery, manner of shipment

(“FOB Athens, Texas”), and payment terms, as well as purchase options,

constituted a commercial offer, even though the letter omitted certain

product specifications and quantity terms.         Junker, 25 F.4th at 1033-34.

Likewise, in Helsinn Healthcare S.A. v. Teva Pharms. USA, Inc., this Court

applied the on-sale bar when the disputed offer was directed to a single

recipient and contained terms governing “price, method of payment, and

method of delivery,” even though the offer ostensibly required the offeror’s

written acceptance of orders. 855 F.3d 1356, 1364-65 (Fed. Cir. 2017). And

this Court has found an offer sufficiently definite based on the existence of

quantity terms and a product description, alone, even without price terms.

Linear Tech. Corp. v. Micrel, Inc., 275 F.3d 1040, 1052 (Fed. Cir. 2001).

      The CPM Offer easily qualifies by comparison.             First, the Offer

specifically targeted an active buyer. CMBE sent the Offer to CPM—and

only CPM—on November 14, 2006. Appx4724; Appx4722. The Offer also

listed CPM’s Colorado address on the first page, and the email sending the

Offer even proposed selling additional tooling to CPM once it became




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available. Appx4722. And CMBE listed CPM as a customer at the time of

the Offer. Appx4763.

      The terms of the Offer were amply definite for a sales contract. For

one, the Offer included the minimum product description and quantity

terms that this Court has found sufficient. Appx4728. As in Junker and

Helsinn, the Offer also included price ($2,764,200.00) and delivery terms,

stating that delivery would be “FCA (Shipley/Our Packers),” meaning

CMBE would ship the 3400 to a specified destination or its own plant in

Shipley, England. See Appx4724; see also Appx4725 (stating 3400 would be

“packed, ready for despatch 30 weeks from receipt of order”); Appx4731

(“delivery shall be at [CPM’s] nominated point of delivery,” or if no point is

nominated, at “[CMBE’s] premises”). And although not required, the Offer

provided terms for payment, explaining that 50 percent of the purchase price

would be due with CPM’s order, while the remaining amount would be due

before shipment. Appx4730.

      CMBE went well beyond the minimum showing of intent.                For

example, the CPM Offer included terms controlling the assignment of risk,

transfer of title, and acceptable performance; a force majeure clause; terms

outlining the warranties Crown would provide; terms for the installation

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and testing of the 3400; and a clause selecting English law to govern the

parties’ agreement. Appx4730-4732. To confirm Crown’s willingness to be

bound, CMBE’s sales manager signed the Offer and also provided a 60-day

window during which CMBE would consider the Offer valid and binding.

Appx4725. CMBE also agreed to “proceed with manufacture [of the offered

3400] immediately upon receipt of an order” and requested information

from CPM to do so. Appx4725. And the Offer stated that the above terms

“shall override any conflicting terms in [CPM’s] order.” Appx4731. Those

additional terms confirm CMBE’s intent to enter a sales contract. See, e.g.,

Junker, 25 F.4th at 1033 (letter allocating “the risks and responsibilities of the

buyer and seller” was invalidating); Scaltech, Inc. v. Retec/Tetra, L.L.C., 269

F.3d 1321, 1329 (Fed. Cir. 2001) (finding quotation stating it was “firm for 90

days” invalidating); Restatement § 34 cmt. b (stating that by limiting the

offeree’s choice of terms, the offeror avoids indefiniteness in the final

contract); id. § 132 cmt. d (“Thus a signed offer authenticates the acceptance

invited by it.”).

      As summarized in the below chart, compared with terms that this

Court has found establish an invalidating offer, the CPM Offer easily

qualified as a commercial offer for sale as a matter of law:

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                                                                   Atlanta
                                  Linear               Buildex                 Medicines   CPM
  Term         Junker   Helsinn            Scaltech               Attachment
                                  Tech.                   9
                                                                      10
                                                                                 II11      Offer

Shipment         X                                                                          X

Delivery         X        X                                           X               X     X

  Price          X        X                               X                           X     X

Payment          X        X                                                                 X

Quantity                            X         X           X           X                     X
 Product
                                    X         X                                             X
descript.
   Risk
                 X                                                                          X
allocation
   Firm
                                              X                                             X
   offer
Offeror’s
                                                          X                                 X
signature
 Promise
 to fulfill               X                                                           X     X
  orders
 Transfer
                                                                                      X     X
  of title

              The District Court’s bases for denying Belvac’s motion do not alter this

     analysis.




     9 Infra, p. 64-65.
     10
        Infra, p. 65.
     11 Infra, p. 67.



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                  (c)     The District Court violated this Court’s precedent
                          by ignoring the binding substance of the CPM
                          Offer.

                        i.      The “Quotation” label does not trump the
                                CPM Offer’s binding terms.

      The District Court erred by elevating the “quotation” label above the

substance of the CPM Offer. “While the precise label used for a given

communication is relevant, it is not controlling.” Junker, 25 F.4th at 1035.

“Rather, the terms of the communication must be considered in their entirety

to determine whether an offer was intended, or if it was merely an invitation

for an offer or further negotiations.” Id. To that end, while “[a] quotation

typically leaves many terms necessary to a contract—such as place of

delivery, payment terms, and the like—unexpressed,” where a purported

quotation “‘contains detailed terms,’…‘it may well be deemed an offer.’” Id.

(citing Corbin § 2.5, at 157, 161 (2018); Restatement § 26 cmt. c).

      This Court has thus held that purported “quotations” are nonetheless

invalidating when their terms indicate the offeror’s intent to be bound. In

Buildex Inc. v. Kason Indus., Inc., for example, this Court held that a two-page

“Quotation” that contained “the essential terms of quantity and price,” as

well as the offeror’s signature, satisfied the on-sale bar. 849 F.2d 1461, 1463-

64 (Fed. Cir. 1988). Similarly, in Atlanta Attachment Co. v. Legett & Platt, Inc.,

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this Court found that a “quotation” for a specific quantity of units that

provided for “anticipate[d] installation” by a certain date constituted an

invalidating offer. 516 F.3d 1361, 1366 (Fed. Cir. 2008); see also S. Snow Mfg.

Co. v. SnoWizard Holdings, Inc., 567 Fed. App’x 945, 950-51 (Fed. Cir. 2014)

(unpublished) (“quotation” that included price, quantity, and delivery terms

constituted offer). And most recently, in Junker, this Court held that a

“quotation” that included terms specifying product sizes, pricing, payment

terms, and delivery terms invalidated the patent-in-suit despite the offeror’s

labeling. Junker, 25 F.4th at 1033-35.

      Here, as in the above cases, the actual terms of the CPM Offer are

sufficiently definite to form a contract upon acceptance, regardless of the

inconsistent “quotation” label. The District Court erred in giving such

labeling controlling weight. Indeed, the District Court ignored that the Offer

also (correctly) called itself an “offer” and the prospective agreement a

“contract.” Appx4725-4732; Corbin § 2.5 (“quotes” are offers when the

language used suggests an intent to be legally bound). Accordingly, under

Junker and the cases before it, the Offer is invalidating regardless of Crown’s

labeling.




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      Crown tried to distinguish Junker below because (a) the Junker offer

specified shipment would be “FOB Athens, Texas”; (b) the invention in

Junker required fewer specifications from the offeree; (c) the offer was

“solicited”; and (d) the Court held that the naming of an offer was

determinative.    Appx4902-4904.     None of these points holds weight.

Appx4905-4908. First, as in Junker, the CPM Offer specified shipment terms

as “FCA (Shipley/Our Packers).” Appx4724. Second, Junker did not find

that the number of additional product specifications requested from the

customer controls; it stated only that requiring additional specifications does

not preclude the on-sale bar. 25 F.4th at 1032. Third, CMBE sent the Offer

to a specific recipient and had identified CPM as a customer, which the Court

in Junker found demonstrates that a communication is not “an unsolicited

price quotation.” Id. at 1033. And fourth, as detailed above, the Court in

Junker explicitly found that the chosen naming of an offer is not

determinative, but that the substance of the offer controls. Id. at 1035. Here,

the substance of the Offer clearly indicated CMBE’s intent to be bound.




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                      ii.      Crown’s superficial reservation of the right to
                               confirm a purchase order did not render the
                               CPM Offer nonbinding.

      The District Court also relied on a provision that the Offer was “subject

to [CMBE’s] written acceptance of [CPM’s] order,” which it thought

deprived CPM of “the power of acceptance.”             Appx4620-4621.      Again,

however, the District Court violated this Court’s precedent in giving

talismanic significance to that language.

      The reservation of the offeror’s right to confirm a purchase order does

not defeat the on-sale bar when the offer otherwise obligates the offeror to

deliver on the order. For example, in Helsinn, this Court found that although

the disputed offer provided that each purchase order would be “‘subject to

written acceptance and confirmation by [Helsinn] before becoming

binding,’” the offer was nonetheless binding because it obligated Helsinn to

fulfill orders submitted by the offeree. 855 F.3d 1356, 1361-62, 1365 (Fed. Cir.

2017). Likewise, in The Medicines Company v. Hospira, Inc. (Medicines II), this

Court found that the offeror’s reservation of the right to confirm orders did

not preclude application of the on-sale bar when the terms of the offer




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otherwise obligated the offeror to make “commercially reasonable efforts”

to fulfill the orders. 881 F.3d 1347, 1351-52 (Fed. Cir. 2018). 12

      So too here. Although ostensibly reserving CMBE’s right to confirm a

purchase order, the CPM Offer otherwise obligated CMBE to make “every

effort” to “carry out the contract” upon CPM’s acceptance. Appx4732.

Indeed, the Offer provided a timeline for delivery “30 weeks from receipt of

[an] order,” not CMBE’s written acceptance.             Appx4725.    CMBE’s vice

president confirmed that this language meant that “manufacturing will be

completed and [the ordered 3400 would be] ready to ship” within the

specified timeframe. Appx4755; see also Appx4725 (referring to delivery

timeline as “our delivery promise”). In fact, CMBE expressly stated its

intention to “proceed with manufacture immediately upon receipt of an

order,” and asked CPM to provide certain information to allow CMBE to do

so. Appx4725. The Offer also required payment of 50 percent of the

purchase price “with [the] order,” meaning part performance would occur

before CMBE provided its written acceptance.             Appx4730.     “Under the

provisions of the Restatement (Second) and U.C.C. § 2-206, commencement


12 Like the CPM Offer, the Medicines II offer also contained terms governing

price, delivery, and transfer of title to the offered goods. Id.

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of performance that unambiguously indicates a commitment to the deal by

the offeree creates a bilateral contract.” Corbin § 2.32. Thus, CPM’s purchase

order, not CMBE’s written acknowledgment, would have obligated CMBE

to deliver the ordered 3400, and the District Court’s finding that CPM lacked

the power of acceptance based on CMBE’s superficial right to confirm

purchase orders is inconsistent with the plain language of the Offer.

      The District Court tried to distinguish Helsinn and Medicines II as

involving preexisting agreements to fulfill purchase orders. Appx4621. But

the agreements in both cases were themselves the offers that triggered the

fulfillment obligation, and there were no pre-offer agreements. See Medicines

II, 881 F.3d at 1352 (explaining that in Helsinn “the agreement was an offer for

sale because it obligated Helsinn to meet the purchase orders” and applying

same logic (emphasis added)). The same is true here, as the CPM Offer

obligated CMBE to fulfill purchase orders upon receipt of the orders.

                  (d)     The CPM Offer was made “in this country.”

      The only remaining requirement under pre-AIA § 102(b) is that the

disputed offer be made “in this country.” The District Court did not address

this factor, but there is no genuine dispute that the CPM Offer met this

requirement.


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      The Offer met this requirement because it was addressed to CPM at its

address in Colorado. Appx4724. CMBE’s sales manager also sent the Offer

directly to CPM by email. Appx4722. And CMBE listed CPM as a customer

based in the “USA” in its own records. Appx4763. As this Court has found,

offers directed from a foreign jurisdiction to a U.S.-based company are offers

made “in this country” triggering the on-sale bar. See C.R. Bard, Inc. v. M3

Sys., Inc., 157 F.3d 1340, 1375-76 (Fed. Cir. 1998) (letter sent from Swedish

patentee to United States was an invalidating offer for sale); In re Caveney,

761 F.2d 671, 677 (Fed. Cir. 1985) (“Although Insuloid presumably made its

offer from England, that offer was directed to Tyton at is place of business

in the United States. Therefore, 35 U.S.C.A. § 102(b) is applicable to the facts

of this case.”).

      As a matter of law, then, the Asserted Patents were the subject of an

offer made in this country before the earliest critical date of the patents, and

the alleged invention of the patents was ready for patenting at the time of

the offer. The District Court thus erred in denying Belvac’s motion for

summary judgment of the on-sale bar. This Court should reverse with

instructions to enter judgment of invalidity.




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      B.     The District Court erred in granting Crown’s cross-motion of
             no invalidity under the on-sale bar.

      At a minimum, the evidence easily sufficed for a reasonable jury to

find for Belvac. Supra III.A.2. So the District Court erred in granting

Crown’s cross-motion for summary judgment that the on-sale bar does not

apply. Fed. R. Civ. P. 56(a); Anderson, 477 U.S. at 255; see also Crystal

Semiconductor Corp. v. TriTech Microelecs. Int’l, Inc., 246 F.3d 1336, 1352 (Fed.

Cir. 2001) (reversing grant of judgment to patentee on on-sale bar when

evidence was sufficient for jury to find for defendant).

      Beyond that evidence, a reasonable jury could conclude that CMBE

itself treated purchase orders submitted in response to nearly identical offers

as binding. That practice confirms CMBE’s intent to be bound in making the

CPM Offer.

      CMBE often issued documents largely identical to the CPM Offer.

Those documents were also labeled “quotations” and likewise required

CMBE’s “written acceptance” of purchase orders. Appx4766-4847. But

CMBE consistently treated purchase orders in response to those

“quotations” as acceptances without the need for CMBE’s written

acknowledgment. CMBE entered those orders in its system and began



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manufacturing the ordered 3400 before issuing a written acknowledgment to

the customer. E.g., Appx4795 (May 14, 2007 offer stating, “Quotations are

valid for sixty days only and are subject to our written acceptance of your

order.”); Appx4800-4802 (June 29, 2007 customer order); Appx4804 (July 2,

2007 order entry in CMBE system); Appx4806 (September 7, 2007 order

update); Appx4808-4810 (September 10, 2007 acknowledgment to customer).

CMBE’s former senior vice president of business support also confirmed that

“if a customer received a quotation for a 3400 Necker and responded to that

quotation with an order for the 3400 Necker consistent with the terms

described in that quotation,” CMBE considered the order to be a binding

acceptance that obligated it to deliver the ordered 3400. Appx4852.

     The District Court ignored this evidence in granting Crown’s motion

for summary judgment. But a party’s contractual practices are relevant to

interpreting its contracts. The Restatement specifies that a party’s conduct

“may be evidence against him that he had knowledge or reason to know” of

a certain meaning. See § 202 cmt. g. Accordingly, “it seems clear that

contracts of a party with third persons may show the party’s customary

practice and course of dealing and thus supply useful insights into the terms

of the present agreement.” McCormick on Evidence, § 198 (8th ed. 2022).

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Court have thus found that the performance of a party to a contract with

others under similar terms provides evidence of that party’s understanding

of, and practice in response to, those terms in a disputed contract. See, e.g.,

Amerine Nat’l Corp. v. Denver Feed Co., 493 F.2d 1275, 1278 (10th Cir. 1974)

(finding plaintiff’s practice with its customers was probative of its contract

meaning); Joseph v. Krull Wholesale Drug Co., 245 F.2d 231, 231 (3d Cir. 1957)

(affirming admission of evidence of the defendant’s practice of hiring other

officers at will in interpreting employment contract with plaintiff-officer); see

also McCormick § 198 (collecting cases).

      The same logic applies here. CMBE began fulfillment of every other

purchase order submitted in response to nearly identical offers before

providing written acknowledgment. CMBE thus treated purchase orders in

response to documents just like the CPM Offer as acceptances. A reasonable

jury thus could easily conclude based on CMBE’s practice—not to mention

the document’s plain terms—that the CPM Offer was likewise an offer that

could be accepted by a purchase order. So summary judgment to Crown on

the on-sale bar should be reversed.




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IV.   The Asserted Claims are invalid for lack of a written description.

      A.    The lack of a written description invalidates the Asserted
            Claims as a matter of law.

      The Asserted Claims are also invalid as a matter of law for lack of a

written description. 35 U.S.C. § 112 provides that each patent’s specification

“shall contain a written description of the invention.” “[T]he hallmark of

written description is disclosure.” Ariad Pharms., Inc. v. Eli Lilly & Co., 598

F.3d 1336, 1351 (Fed. Cir. 2010) (en banc).         Thus, a specification must

“reasonably convey[] to those skilled in the art that the inventor had

possession of the claimed subject matter as of the filing date.” Id. A jury’s

determination of facts “relating to compliance with the written description

requirement” must be supported by “substantial evidence.” Id. at 1355.

When the evidence does not support a jury’s factual findings that there is an

adequate written description, the verdict should be reversed and judgment

of invalidity should be entered. See Juno Therapeutics, Inc. v. Kite Pharma, Inc.,

10 F.4th 1330, 1336-1337 (Fed. Cir. 2021).

      Crown’s infringement theory required the broad construction that the

Asserted Claims are directed to necking configurations that include a can

moving into a stationary die, a die moving onto a stationary can, or a




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combination of the can and the die moving together. Appx1426-1464. But

the common specification of the Asserted Patents describes only one

configuration: a can moving into a stationary die. Appx5369-5390. Without

a description conveying the inventors’ possession of the broadly construed

invention necessary for Crown’s infringement theory, the Asserted Patents

lack the required written description.

            1.    There is undisputed clear and convincing evidence that
                  the specification contained no disclosures for the
                  asserted claimed necking configurations.

      The undisputed evidence at trial provided clear and convincing proof

that the Asserted Claims are invalid for lack of a written description. Both

technical experts agreed that the specification contains no references to, or

descriptions of, a necking machine configured for moving a die onto a

stationary can, or for the can and die to move together. Appx5369-5390;

Appx3614; Appx3616; Appx3296. Instead, Belvac’s expert Gillest testified

without contradiction that “the specifications [of the Asserted Patents] show

only one way [of necking a can], and that’s pushing the can into the die.”

Appx3288. Gillest explained that a POSITA at the time of the invention

would find nothing in the specification’s figures, text, or prior art disclosures

showing that the inventors had possession of other necking configurations.


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Appx3288; Appx3291-3292; Appx3292-3296.                Gillest concluded that a

POSITA reading the specification would not have understood that the

named inventors were in possession of necking configurations that could

achieve the claimed throughput speeds other than the can-into-stationary-

die configuration. Appx3296; Appx43 at 10:20-28; Appx61 at 8:4-12.

      Crown’s technical expert, Robert Walsh, confirmed                     Gillest’s

testimony.    Walsh conceded that to “satisfy the written description

requirement the patent specification must describe each and every limitation

of the patent language,” and that despite this understanding, his opinion

that the Asserted Patents contain an adequate written description was “not

based on any quotes or excerpts or text from the asserted patents

themselves.” Appx3614; Appx3616.

      So both technical experts agreed that the specification of the Asserted

Patents contained no disclosures from which a POSITA could understand

that the invention claimed by the inventors included the full scope of the

Asserted Claims as construed at Crown’s behest.              Without any such

disclosures, the claims are invalid for lack of written description. See Ariad,

598 F.3d at 1351 (stating “the hallmark of written description is disclosure”);

LizardTech, Inc. v. Earth Res. Mapping, Inc., 424 F.3d 1336, 1345 (Fed. Cir. 2005)

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(holding that the specification must demonstrate that the “inventor

possesses the full scope of the invention”).

            2.    Crown’s post-trial arguments in rebuttal are not
                  supported by substantial evidence.

      After trial, Crown offered a new written-description argument that the

specification disclosed sufficient species (i.e., a configuration whereby a can

moves into a stationary die) to support the alleged genus (i.e., all other

configurations for moving a can and die together). But disclosing an alleged

species does not suffice to establish written description support for the entire

genus. Ariad, 598 F.3d at 1350. Instead, the specification must disclose

“either a representative number of species falling within the scope of the

genus or structural features common to the members of the genus that one

of skill in the art can ‘visualize or recognize’ the members of the genus.” Id.

Crown presented no evidence—let alone substantial evidence—to the jury

to support either element. Its reliance on unsupported post-trial arguments

cannot sustain the jury’s findings. See ABT Sys., LLC v. Emerson Elec. Co., 797

F.3d 1350, 1361 (Fed. Cir. 2015) (rejecting arguments that were not supported

by evidence adduced at trial in reversing verdict of no invalidity); Boston Sci.

Scimed, Inc. v. Cordis Corp., 554 F.3d 982, 991 (Fed. Cir. 2009) (reversing denial



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of judgment when evidence showed invalidity and “the record did not

contain substantial evidence for the jury to conclude otherwise”).

                 (a)     There is no substantial evidence that the
                         specification discloses common features shared by
                         all species.

     Crown introduced no evidence that the specification of the Asserted

Patents discloses structural features common to all configurations of moving

a can and die together, and for good reason. During trial, Crown did not

refute the testimony of Gillest that the specification discloses only a

mechanism for how to move a can into a stationary die. Appx3288-3296;

Appx5369-5377; Appx5360 at 3:49-52; Appx5360 at 3:65-4:2. In fact, Walsh

confirmed that his written description opinion was not based on any

language or figures in the specification itself. Appx3614; Appx3616. So the

jury could not have found that the Asserted Patents disclosed structural

features from which a POSITA could “visualize or recognize” the entire

genus of necking configurations.

                 (b)     There is no substantial evidence that the
                         specification discloses a representative number of
                         species.

     Crown’s after-the-fact argument that the can-into-stationary-die

configuration was representative of all configurations also lacks substantial


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evidence. That argument would require evidence that a POSITA reading the

specification would understand that species as disclosing the inventors’

possession of the entire genus. There is no such evidence to support the

jury’s verdict.

      The written description test asks “whether the disclosure of the

application relied upon reasonably conveys to those skilled in the art that

the inventor had possession of the claimed subject matter as of the filing

date.” Ariad, 598 F.3d at 1351. Thus, the operative question is not whether

the specification standing alone discloses sufficient species, but whether a

POSITA reading the specification would understand the inventors to be in

possession of the entire genus based on the disclosed species. See LizardTech,

424 F.3d at 1346 (finding a single embodiment supports a “generic claim”

directed to all embodiments “only if the specification would reasonably

convey to a [POSITA] that [the inventor] had possession of the claimed

subject matter at the time of filing”).

      But Crown offered no evidence that the sole necking configuration

disclosed in the Asserted Patents would convey to a POSITA at the time of

the invention that the inventors possessed all possible configurations. So

there was no evidence for the jury to conclude that the Asserted Patents’

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disclosure of a single species provided written description support for the

entire claimed genus.

      Crown pointed in vain to the testimony of Walsh that “necking

machines” as a concept are understood to include all possible configurations

for marrying a can and a die. Appx3578; Appx3616. That argument fails

first because it contradicts Crown’s argument that its disclosure of a species

supports the entire genus; rather, the argument ignores the alleged species

altogether by relying on necking machines generally. Second, that testimony

also relies on the false premise that the general disclosure of a machine is

sufficient to establish written description support for the entire genus of

possible configurations for that machine. This Court has repeatedly rejected

that premise. For example, in LizardTech, this Court explained that if “an

inventor created a particular fuel-efficient automobile engine and described

the engine,” he could not then claim “every possible type of fuel-efficient

engine” without violating the requirement that he “correctly describe, just

what he has invented.” 424 F.3d at 1346; see also Idenix Pharms. LLC v. Gilead

Scis. Inc., 941 F.3d 1149, 1163-65 (Fed. Cir. 2019) (describing species

disclosure as “looking for blaze marks which single out particular

trees…rather than simply pointing to trees” (citation omitted)); Abbvie

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Deutschland GmbH & Co., KG v. Janssen Biotech, Inc., 759 F.3d 1285, 1298-1302

(Fed. Cir. 2014) (“[M]erely drawing a fence around a perceived genus is not

a description of the genus.”). Walsh’s testimony that necking machines as a

concept can include other configurations therefore says nothing about what

a POSITA reading the specification would understand the sole disclosed

configuration to represent.

      The trial evidence resembled that in LizardTech, where the patentee

drafted claims directed to all methods for achieving image compression but

disclosed only one such method in the patent-in-suit. 424 F.3d at 1345. The

patentee argued that because the specification disclosed a single process for

achieving the desired compression, the inventor disclosed possession of all

other processes. Id. at 1346. In rejecting this argument, this Court found that

allowing the mere disclosure of one process to claim all other processes

“would entitle an inventor to a claim scope far greater than what a [POSITA]

would understand the inventor to possess….” Id. Instead, the Court found

that where there is “nothing in the patent’s specification ‘to suggest that

[means] other than [those disclosed] are necessarily part of the disclosure,’”

there is no written description support beyond the disclosed method. Id. at

1346 (citation omitted).      This Court has repeatedly applied this same

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principle to find no written description support when claims are directed to

a broad array of configurations for achieving an objective, but the

specification describes only one such configuration.13 That same principle

requires JMOL here.

            3.    Evidence untethered from the specification provides no
                  written description support.

      Crown also offered two excuses for the specification’s failure to

disclose the full scope of necking configurations: the knowledge of a POSITA

and the alleged non-criticality of necking configurations. Those excuses both

fail to support the verdict because they lack any nexus to the actual

disclosures of the specification.




13 BASF Plant Sci., LP v. Commonwealth Sci. & Indus. Rsch. Org., 28 F.4th

1247, 1269 (Fed. Cir. 2022) (finding genus claims directed to “plant cells”
lacked adequate written description when specification described success
in only one form of cell); Rivera v. Int’l Trade Comm., 857 F.3d 1315, 1321
(Fed. Cir. 2017) (finding claims directed to “a container…adapted to hold
brewing material” lacked written description to cover a container with an
integrated filter because every embodiment in the specification showed the
“pod” and container as physically separate); Gentry Gallery, Inc. v. Berkline
Corp., 134 F.3d 1473, 1479 (Fed. Cir. 1998) (holding that broad claim
allowing controls on a sofa to be mounted anywhere lacked support by
specification describing only controls mounted on a console).

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                   (a)    The knowledge of a POSITA cannot provide
                          written description support without some basis in
                          the specification.

      Crown’s expert asserted that the Asserted Claims had written

description support because a POSITA would understand necking machines

as a concept to include all possible configurations for necking a can.

Appx3578; Appx3616. That is a categorical mistake. A POSITA’s purported

free-floating knowledge is irrelevant; “the test [for written description]

requires an objective inquiry into the four corners of the specification from the

perspective of a person of ordinary skill in the art,” and “it is the specification

itself that must demonstrate possession.” Ariad, 598 F.3d at 1351-52. This

Court thus rejected the argument that a POSITA’s knowledge can

“supplement the teaching in the specification to provide written description

support.” Rivera, 857 F.3d at 1322. Rather, “[t]he knowledge of ordinary

artisans may be used to inform what is actually in the specification, but not

to teach limitations that are not in the specification, even if those limitations

would be rendered obvious by the disclosure in the specification.” Id.

      Walsh admitted that he ignored the actual disclosures of the

specification in concluding that a POSITA would understand necking

machines as a concept to include the full scope of necking configurations.


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Appx3614; Appx3616. He thus opined as to only the knowledge of a POSITA

in the abstract, without explaining how that knowledge would inform a

POSITA’s understanding of this specification’s disclosures. His testimony

untethered from the specification was thus irrelevant to the written

description inquiry and could not support the jury’s verdict. See Rivera, 857

F.3d at 1322; Juno, 10 F.4th at 1335–40 (finding testimony that undisclosed

limitations were “generally known in the field” insufficient to establish

written description).

                  (b)    The “criticality” of the disputed feature cannot
                         provide written description support without some
                         basis in the specification.

      Crown also relied on evidence of the supposed non-criticality of how

a can and die move together in the necking process. Appx4920-4921 (citing

Appx2361-2362; Appx3462-3464; Appx3577; Appx3577-3578). But again,

that evidence fails to address a POSITA’s understanding of the actual

disclosures of the specification and so could not support the jury’s verdict.

      This Court has recognized that the alleged criticality of a disputed

feature affects only the “‘level of detail [in the specification] required to

satisfy the written description requirement.’” In re Global IP Holdings LLC,

927 F.3d 1373, 1377 (Fed. Cir. 2019) (quoting Ariad, 598 F.3d at 1351); see also


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In re Peters, 723 F.2d 891, 893-94 (Fed. Cir. 1983) (finding the disputed feature

non-critical in the context of the “disclosure” of the patent). Thus, like

knowledge of the art, the criticality of a feature informs how a POSITA

would understand the disclosures of the specification; it is not a stopgap for

elements that are entirely absent. Global IP, 927 F.3d at 1377.

      In support of its criticality argument, Crown relied on Walsh’s

testimony that “[t]here’s nothing different as far as the necking process”

however the can and die are moved, and that the configuration for moving

the can and the die together “doesn’t have anything to do with the quality

of the can or the performance of the machine versus doing it the

conventional way.” Appx2587-2588; Appx3577. But the fact that necking

configurations are allegedly noncritical to necking machines generally says

nothing about how a POSITA would understand the criticality of necking

configurations to the claimed invention of the Asserted Patents, let alone how

the POSITA would apply that understanding to the specification’s

disclosures. This is especially true here, where the Asserted Patents do not

claim to invent necking machines, but necking machines “configured for

high speed operations.”       Appx5369.      That necking configurations are




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noncritical to necking machines as a concept says nothing about their

criticality to the high-speed machine claimed by the Asserted Patents.

                                     ***

      Belvac adduced undisputed evidence that the specification of the

Asserted Patents described only one necking configuration. Crown sought

to refute that showing with evidence untethered from the specification. So

as a matter of law, there was insufficient evidence for the jury’s finding of

no invalidity. Judgment should be entered for Belvac.

                                CONCLUSION

      This Court should affirm the judgment of noninfringement. The Court

should reverse the judgment that the Asserted Patents are not invalid under

the on-sale bar and for lack of written description.




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Dated: May 24, 2023              Respectfully submitted,

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                         CERTIFICATE OF SERVICE

     I certify that on May 24, 2023, I filed the foregoing with the Clerk of

this Court using the CM/ECF System, which will send notice of such filing

to all registered CM/ECF users.



                                           /s/ Brian D. Schmalzbach
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                         CERTIFICATE OF COMPLIANCE

This brief complies with the type-volume limitation of Federal Circuit Rule
32(a) because:

      This brief contains 16,491 words, excluding the parts of the brief
       exempted by Appellate Rule 32(f) and Federal Circuit Rule 32(b).

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       Book Antiqua font using Microsoft Word.


                                             /s/ Brian D. Schmalzbach
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